Case 3:11-CV-00858-.]LS-WI\/|C Document 1-2 Filed 04/22/11 Page|D.? Pagelof43

EXHIBIT A

Case 3:11-Cv-00858-.]LS-Wl\/|C Document 1-2 Filed 04/22/11

Page|D.S Page 2 of 43

sum -`1~'00":5';“

 

SU\\"MONS - ($oh;v't"é`t`>’wjr OSEr))M” W`";t
(CITAC[ON JUDIC[AL) .. .. t:w: i:.~¢ !
NOT|CE TO DEFENDANTZ ‘ " 1 -. m\/i._;!i_i-.:".
(A VlSO AL DEMANDADO).'

BUS-|NESS FlNANClAL SER\/lCES, lNC., BUS|NESS CASH ADVANCE. lNC.,
FATON, lNC., and DOES 1 through 50,

YOU ARE BE|NG SUED BY PLA|NTIFF:

(LO ESTA DEIVIANDA'NDO EL DEMANDANTE):

CAPTA|N BOUNCE, lNC., SE\/AG KALAJAlN, SAMUEL KHATOMATOURlAN,
and TAl\/lRA COVlEt.LO dba KC DANCEGEAR, individually and on behalf of all
others similarly 'situated,

 

  

ii ina to hi fits

;CtCOUi'tl
.l'~ii Y C/-\

 

 

NOT|CE! You have been sued. The court may decide against you without your being heard unless you respond
below.

Online Self~Help Center (www.courtinfo.ca.gov/selfnelp), your county law library, or the courthouse nearest you.

may be taken without further warning from the court.

continuac/`on

podra quitar su sue/do, dinero y bienes sin mas advertencia.

colegio de abogados looales A\/lSO Por lay la co/te tiene derecho a reclamar las cuotas y los costos exentos

 

pagar' el gravamen de la cone an!es de que la corte pueda desechar el caso

You have 30 C~Al.ENDAR DAYS after this summons and legal papers are served on you to file a written response at this court and have a copy _
served-on the plaintiff A letter or phone call will not protect you. Your written response must be in proper legal form if you want the court to hear your
case. There may be a court form that you can use for your response You can find these court forms and more information at the California Courts

the court clerk for a fee waiver form. lt you do not file your response on tlme, you may lose the case by default and your wages, money and property

There are other legal requirements You may want to callan attorney right away. if you do not know an attorney, you may want to' call an attorney
referral service lt you cannot afford an attorney, you may be eligible for tree legal services from a nonprofit legal services program.-You can locate
these nonprofit groups at the Calilornia Lega| Services Web site (wwvv.lawhelpcalifomia.org), the California Courts Online Self~Help Center
`(www.courtr`nfo.ca.gov/selfhelp), or by contacting your local court or county bar associationl NOTE: The court has a statutory lien for waived fees and
costs on any settlement or arbitration award of $10 000 or more in a civil case. The court‘s lien must be paid before the court will dismiss the case
rAVlSOl Lo han demandado. Si no responds dentro de 30 dias la carte puede decidir en su contra sin escuchar su version l_ea la infarmacion a

Tiene 30 DlAS DE CALENDARIO después de que le enlreguen esta citac)'on y pape/es legales para presenfar una respuesfa por escrifo en este
code y hacer que se entregue una copia al demandante. Una carta o una llamada telefonica nolo protegen. Su respuesfa por escriio liene que estar
en.»forma_to legal correcto si desea que procesen su case en /a corta. Es posible que haya un formulario que usted pueda user para su respuesta.
Puede `encor)lrar estos formu/arios de la corte y mas informacion en el Centro de Ayuda de las Cortes de California (www.sucorte.ca.gov), en la
biblioteca de leyes de s'u condado o en la colte que le quede mas cerca. Si no puade pager le cuota de presentacion, pida al secretarlc de la cone
que le de un.`formularlo de exencion de pago de cuotas. Si no presenta su respuesta a tiempo, puede perder el caso porincumplimiento y la corte le

Hay otros requisites legales. Es recomendable que llame a un abogaclo inmedialamente. Si no conoce a un abogado, puacle l/amara un servicio'de
remision a abogados. Si no puede pager a un abogado, es posible que cumpla con los requisites para obtener servicios legales gratuitos de un
programa de serv/cios legales sir) fines de /ucro. Puecle encontrar estos grupos sin fines de lucro en el silio web de Califomia Legal Services,
(www.lawhelpcalifornia.org), en el Centro de Ayuda de las Cortes de California, (www.sucorte.ca.gov) o pon/`éndose en contacto con la cone o el

cuelquier recuperacion de $10 000 o mas de valor reciblda mediania un acuerdo c ana concession de arbitraje en un paso de derecho civil Tiene que

within 30 days. Read the information

lf you cannot pay the filing fee, ask

por importer un gravamen sobre

 

The name and address of the court is:
(El~no.mbre y direocic')n de la corte es).'
San Diego County Superior Court, North County Regiona| Center

 

CASE NUMBER:
(Ni.imero del Caso):

37-2011 -00052329~CU-BT-NC

 

 

325 South` l\lle_irose Drive
Vi`sta, `CA 92081

The"nam'e, address, and telephone number of plaintiffs attorney, or plaintiff without an attorney is:

(El nombre, la direccion y el numero de le/éfono del abogado del demandante, o del demandante que no tiene abogado es):

Jarnes Ft Clapp (145814)
DOSTART CLAPP & COVENEY LLP

4370 La JOl|a Village Drive, Ste 970 Sen Diego CA 92122 Tel 858- 623- 420§!
AET . Clerk by Deputy

(Fecha) MAR 1 0 Zi?li

(For proof of service of this summons, use Proot of Service of Summons (form POS~ 01 t')) )
(Para prueba de entrega de esla citation use el formulario Proof of Service of Summons. (POS 010))

(Secretario) `""/

 

 

  

 

 

 

tSEALl NCT|CE TO THE PERSON SERVED: You are served
1. [:] as an individual defendant
2. l:] as the person sued under the fictitious name of (specify):
3. l:i on behaler (speciry).~
under: m CCP 416.10 (corporation)
[:] CCP 436.20 (defunct corporation)
l:l CCP 416.40 (association or partnership)
[] other (speciry).~
4, i:l by personal delivery on (dale):

(A djunio)

ij ccP 416.60 (minor>
[:] CCP 416.70 (conservatee)
[] CCP 416.90 (authorized person)

Paga 1 ott

 

Forrn Adopted for Mandatory Use
Judicial Councit of Calitornia
SUM~lOO [Rev. Juty 1, 2009]

SUMMONS

 

Amerlcan LegatNet. lnc.
www.Forms Workflow.oom

Code ol Civil Procedure §§ 412.20. 465
www.courtlnlo.ca.gov

 

 

Exh. A, p. 01

Case 3:11-cv-00858-.]LS-Wl\/|C Document 1-2 Filed 04/22/11 Page|D.Q PageSof43

 

FJBO§T§V 4.Rc"i`§§§¥i‘i*i‘§`éTi/?H,°§'S§ii”i“>"’."h§§€ZFF’(§"§`§‘Z)"?"’N“""’e“"`
oosTART C ,APP c covENEY, LLP

4370 La lolla Villa e Drive. Suite 970 l
San Diego, CA 921§2

v TeLePiioNE No: 858-623-42~(]0 FAxNo,; 858~623~4299
ATTORNEY FoR (Name): Plaintif`fs CAPTAIN BOUNCE, et al.
_suPERioR count oF cALir-'oRNiA, couer oF SAN DIEGO

STREETADDRESS~' 325 South Melrose

MAlL|NG ADDRESS;

city ANozir> coo€: ViSta, CA 92081

BR`ANcH luna North Courtt_y Regional Center
CASE NAME:

Captain Bounce, st ai. v. Business .Financial Serviccs, ct al.

 

 

 

 

 

 

v ClVlL CASE COVER SHEET Comp|ex Case Designation CASE N;%B:::_ooo$z;,»zg.(ju-BT-NC
unlimited l:l i.imtied 37'
' l::l Counter :i Joindar
(Arnouni tAmount Juocz=.-
demanded demanded is Filed with first appearance l:)y defendant '
exceeds $25,000) $25\000 or less) (Cal. Ru|es of Coult, rule 3.402) DEPT:

 

 

 

ltems 1~6 below must be completed (see instructions on page 2).
1. Check one box below for the case type that best describes this case:

 

Auto Tort Contract Provislonaliy Comptex Civll Litigatton
Auto (22) greach of contract/Wa"amy (96) (Cat. Ru|es of Court, rules 3.400-3.40§)
Uninsured motorist (46) Rule 3.740 collections (09) Antiirust/Trade regulation (03)

1 Other PlIPD/WD (Personal injury/property

Olher collections (09) Construction defect (10)
DamagelWrongl‘ul Death) Tort

EUUUU

_ _ insurance coverage (18) Mass tort {40)
AS°€S‘°S (04) other contract (37> securities irrigation `(23)
’ P'°du°t liabimy (24) Real Property Environmente|floxic tort (30)

UEUUUU

n N|BdiC`a| malpractice (45) Eminent domain/inverse

 

 

insurance coverage claims arising from the
i:l Other Pl/PD/V\/D (23) C°ndemnall<>n (14) above listed provisionally complex case
. N°n-_p`"pD/WD (Other) T°rt [:, Wl'Of'leUl €VlCl,lOl'l (33) types (41)
Business tort/unfair business practice (07) Oiher real property (26) Enf°r°emem of Judgment
[:} Civil rights (08) Unlawful Detainer E:i Entorcemenl of judgment (20)
[:] Defamation (13) COmm@fClal (31) Misceilaneous Civit Compiaint
l::] Fraud (16) [:l Residentiat (32) [::] pico (27)
§ intellectual property (19) [::} Dwg$ (38) Other complaint (not specified above) (42)
i:\ PrOfeSSiOnal negligence tle - J“d*°'a' Re"i°“' miscellaneous civil Pezition
' |::| Om'€' "O"'m/PD/WD ton (35) m Asset forfeiture (05) Plartnership and corporate governance (21)
Em loyment l:l Petition re: arbitration award (11) l::j Other patmon mci Spe¢ifiedabove) (43)
Wrongful termination (36) [::] Writ of mandate (02)
l:} ` Other employment (15) i:] Other judicial review (39)

 

2. This case l:~/j is l l is not complex under rule 3.400 of the California Rules of Court. |f the case is compiex. mark the
g factors requiring exceptional judicial management '

a. [:| l.arge number of separately represented parties d, Large number of witnesses
b. Extensive motion practice raising difficult or novel e. [:J Coordination with related actions pending in one or more courts

issues that will be time-consuming to resolve in other counties, states, or countriesl or in a`federal court
c. Substantial amount of documentary evidence f. i:j Substantia| postjudgment judicial supervision

Remedi_es sought (check all that apply).' a.- monetary b. nonmonetary; declaratory or injunctive relief C. -punitive .
Number of- causes of action (specify): (l) Usury; (2) Money Had & Received; (3) Unfair Comp.; (4) Dec. Reiisf
This case is is not a class action suit.

if there are any known related cases, file and serve a notice of related case. (You m 'y use form CM-015.)

Date: M.arch ].O, 201 l '
Zach P. Dostart

.v>_<».es»

        

 

 

(TYPE OR PR|NT NAME) \§Si ATURE OF PARTV OR ATTORNEY FOR PARTY)

 

l ~ NOTICE
~ Plaintiff must file this cover sheet with the first paper filed in the action or proceedinNexcept small claims cases or cases filed

under the Probate Code, Family Code, or Weifare and institutions Code)v (Ca|. Rules of Courtx rule 3.220.) Failure to tile may result
in sanctions

° Flle this cover sheet in addition to any cover sheet required by local court rule.

~ if this case is complex under rule 3.400 et seq. of the California Rules of Court, you must serve a copy of this cover sheet on all
other parties to the action or proceeding

~ Unless this is a collections case under rule 3.740 or a complex case, this cover sheet will be used for statistical purposes oni .

 

 

 

age t of 2

Form Adopled lot Mandatory Use Cal. Ruies ol Ccurl_ rules 2.30. 3.220. 3.400-3.403. 3.740;

Judic'ral Councii oi Catilornia C |Vn" CAS E COVER S H EE‘F Cal. $tandards of Judicist Adminisiraiion, std. 3.10
CM-D’iO.[Rev. July lt 2007)

www.courfinlo.ca.gov

American LegalNel_ lnc. _
www.ForrnsWo/ktlow.com

EXh. A, p. 02

Case,3:11-cv-00858-.]LS-WI\/|C Document 1-2 Filed 04/22/11 Page|D.lO Page40f43

~01
lNSTRUCTlONS ON HOW TO COMPLETE THE COVER SHEET CM .o
To P|aintiffs and Otners Filing First Papers. if you are filing a first paper (for exampie, a complaint) in a civil case, you must
complete and nie, along with your first paper, the Civil Case Cover Sheet contained on page t. This information will be used to compile
statistics about the types and numbers of cases filed You must complete items t through 6 on the sheet in item t, you must check
one box for the case type that best describes the case. lf the case fits both a general and a more specific type of case listed in item 1,
check the more specific one. if the case has multiple causes.of actionl check the box that best indicates the primary cause of action
To assist you in completing the sheet, examples of the cases that belong under each case type in item t are provided belcw. A cover
sheet must be filed only with your initial paper Faiiure to file a cover sheet with the first paper filed in a civil case may subject a-pa`rty.
its counsel. or both to sanctions under rules 2.30 and 3.220 of the Califomia Rules of Court.

To Parties in Ruie 3.740 Collections Cases. A "co|lecticns case" under rule 3.740 is defined as an action for recovery of money
owed in a sum stated to be certain that is not more than $25,000. exclusive of interest and attorney's fees, arising from a transaction in
which 'property, seivlces. or money was acquired on credit A collections case does not include an action seeking the following: (1) tort
damagesl (2) punitive damages, (3) recovery of real property, (4) recovery of personal property, or (5) a prejudgment writ of
attachment The identification of a case as a rule 3.740 collections case on this form means that it will be exempt from the general
time-for-service requirements and case management ruies, unless a defendant files a responsive pleading A rule 3.740 collections -
case will be subject to the requirements for service and obtaining a judgment in rule 3.740.

To Parties in Comp|ex Cases. in complex cases oniy, parties must also use the Civii Case Cover Sheet to designate whether the
case is complex. if a plaintiff believes the case is complex under rule 3.400 of the California Ru|es of Court, this must be indicated‘by
oomp'teting.the appropriate boxes in items l and 2. if a plaintiff designates a case as complex, the cover sheet must be served with the -
complaint on atl parties to the aotion. A defendant rnay me and serve no later than the time of its first appearance a joinder in the
plaintiffs designation a counter-designation that the case is not compiex, or, if the plaintiff has made no designation a designation that

-the case is complex.

Auto Tort

Auto (22)-Persona| lnjury/Property
Damage/Wrongful Death

Uninsured Niotorist (46) (if the
case involves an uninsured
motorist claim subject to
a_rbilralionl check this item
instead of Auto)

Other PtIF'DNVD (Personal ln]ury/
Property DamageIWrongful Death)
Tort _
Asbestos (04)
_Asbestos Property Damage
Asbestos Personal injuryl
. Wrongfui Death
Prcduct Llability (not asbestos or
- toxic/environmental) (24)
ivledical Malpractice (45)
iviedioal lt/ialpractict,L
_ Physicians & Surgeons
. .Other Professional Hea|th Care
_ ` t\_/la|practice
Other P|/PD/VVD (23)
Premises Liabiiity (e.g., slip
_ » and fall)
intentional Bodily lnjury/PD/WD
_ (e.g., assauit, vandalism)
intentional infliction of
' Emotiona| Distress
Negligent infliction of
Emotiona| Distress
Other Pl/PD/WD
Non-F|_IPD/WD (Other) Tort
Business Tort/Unfair Business
Practice (07) ‘

Civii`Rights (e.g., discrimination
false arrest) (not civil
harassment) (08)

Defamation (e.g., slander, libel)

.(13)_

Fraud (.16)

intellectual Property (19)

Professiona| Negligence (25)
l.e_gal Malpractice
Other Professional Maipractice

` (not medical or legal)

Other Non-Pl/PD/WD Tort (35)

Emplcyment
Wrongfu| Termination (36)
Other'Employment (15)

CM-Ol() (Rev. Ju|y 14 2007]

CASE TYPES AND EXAMPLES
Contract
Breach of Contract/Warranty (06)
Breach of Rental/Lease
Contract (not unlawful detainer
or wrongful eviction)
Ccntract/Warranty Breach~$eller
Ptaintiff (not fraud or negligence)
Neg|igent Breach of Contract/
Warranty
Other Breach ot Contract/Warranty
Collections (e.g., money owed. open
book accounts) (09)
Col|ectlon Case-»Selier Ptalntiff
Other Promissory Note/Coltections
Case
insurance Coverage (not provisionally
complex) (18)
Auto Subrogation
Other Coverage
Other Contract (37)
Contractuai Fraud

Other Contract Dlspute
Real Property

Eminent Domain/|nverse
Condemnation (14)

Wrongtu| Eviction (33)

Olher Real Property (e.g.. quiet title) (26)
Writ of Possession cf Reai Property
Mortgage Foreclosure
Cluiet Tlt|e
Other Reai Properly (not eminent
domainl landlord/tenant or
foreclosure)

Unlawful Detainsr

Commercial (31)

Resldentiai (32)

Drugs (38) (if the case involves illegal
drugs, check this ifem; otherwise
report as Commercia/ or Residenlia/)

Judicial Review

Asset Forfeiture (05)

Petition Re: Art)itratlon Award (11)

Writ of Mandate (02)
Writ-Administrative Niandamus
Writ~Mandamus on Limlted Court

Case Matter
Writ-Other Limlted Couit Case
Review

Other .ludicial Review (39)

Review of Health Officer Order
Nolice of Appea|~Labor
Commissioner Appeais

C|VlL CASE COVER SHEET

Provislonally Comp|ex Civii Litigation (Cat.

Rules of Court Rules 3.400-3.403)

Anlitrust/Trade Regu|atlon (03)
Constructicn Defect (10)
Claims involving Mass Tort (40)
Securities Liligation (28)
Environmentai/Toxic Tort (30)
insurance Coverage Claims , _
(arislng from provisionally complex
case type listed above) (41) '
Enforcement of Judgment
Enforcernenl of Judgment (20)
Abstract of Judgment (Out of
County)
Confession of Judgment (non-'
domestic relations )
Sister State Judgment
Administrative Agency Award
(not unpaid taxes) .
Petltion/Certitication of Entry of
Judgment on Unpaid Taxes _
Otheé§nforcerhent'otJudgment ' '
se -

Misce|laneous Civii Complaint
RlCO (27) '
Other Complaint (not specified
abova) (42)
Declaratory Relief Only
injunctive Re|lef On|y (non-
harassment)
Mechanics Lien
Other Ccmmercial Compiaint
Case (non-lorf/non~corriplex)
Other Civii Complaint
(non~tort/non-complex)
Miscellaneous Civii petition
Pannership and Corporate
Governance (21)
Other Pelition (not specified
above) (43)
Civii Harassment
Worl<place Violence
E|der/Dependent Adull
Abuse
Election Contest
Petition for Narne Change
Petition-for Rellet From Late
C|aim
Other Civii Petilion

Page 2 of 2

Exh. A, p. 03

Case 3:11-Cv-00858-.]LS-Wi\/|C Document 1-2 Filed 04/22/11 Page|D.ll Page§0f43

 

SUPER|OR COURT OF CALIFORNIA, COUNTY OF SAN DiEGO
STREET ADDRESSZ 325 S. Me|rose

MAlLiNG ADDRESS.' 325 S, Me|rose
cnv AND ziP cope visia, cA 92031
BRANCH NAME; North County

TELEPHONE NuiviseR.~ t760) 201-8027

 

PLAiNTiFF(S)/ PETiTiONER(S): Captain Bounce lnc et.ai.

 

DEFENDANT<S) / RESPONDENT(S): Business Financial services inc et.ai.

 

 

CAPTAIN BOUNCE iNC VS. BUS|NESS FiNANCiAL SERV|CES lNC

 

CASE NUMBER:
No'ricE oi= cAsE AssiGNMENT 37_2011_00052329_CU_BT_NC

 

 

Judge! Jacqueiine M. Stern Dep@l'tm@mi N'27
COMPLA!NT/PETIT|ON FILEDS 03/10/2011

CASES ASS|GNED TO THE PROBATE DlVlSiON ARE NOT REQUiRED TO COMPLY WlTH THE C|VlL
REQU!REMENTS LISTED BELOW

 

 

 

iT iS THE DUTY OF EACH PLA|NT!FF (AND CROSS-COMPLAiNANT) TO SER\/E A COPY OF THlS'NOTiCE Wl`i'i~i
THE COMPLA|NT (AND CROSS~COMPL`AlNT), THE ALTERNATIVE DiSPUTE RESOLUTlON (ADR) iNFORi\/iATION
FORi\/i (SDSC FORl\/i #Ci\/~'/'?>O), A ST|PULATiON TO USE ALTERNATiVE DiSPUTE RESOLUTiON (ADR) (SDSC
FORM #Ci\/~359), AND OTHER DOCUMENTS AS SET OUT iN SDSC LOCAL RULE 2.1.5.

ALL COUNSEL WlLL BE EXPECTED TO BE FAMiL|AR VViTH SUPERIOR COURT RULES WH|CH HAVE BEEN
PUBUSHED AS DiV|SlON ii, AND Wii_l. BE STR|CTLY ENFORCED.

TilViE STANDARDS: The following timeframes apply to general civil cases and must be adhered to unless you have
requested and been granted an extension of time. Generai civil cases consist of ali civil cases except small
claims proceedings civil petitions, unlawful detainer proceedings probate, guardianship, conservatorship,
juvenile, and family law proceedings

COMPLA|NTS: Compiaints and all other documents listed in SDSC Local Ruie 2.1.5 must be served on ali named
defendants and a Certificate of Service (SDSC form #CiV-345) filed within 60 days of filing.

DEFENDANT‘S APPEARANCE; Defendant must generally appear within 30 days of service of the complaint (Plaintifi
may stipulate to no more than 15 day extension which must be in writing and filed with the Court.) (SDSC Local
Ruie 2.1.6) -

DEFAULT: if the defendant has not generally appeared and no extension has been granted, the plaintiff must request
default within 45 days of the filing of the Certificate of Service. (SDSC Local Rule 2.1.7)

CASE MANAGEMENT CONFERENCE: A Case i\/ianagement Conference will be set within 150 days of filing the
complaint

ALTERNATIVE DiSPUTE RESOLUT!ON (ADR): THE COURT ENCOURAGES YOU TO CONS|DER UTiLiZiNG
VAR|OUS ALTERNAT|VES TO TRiAi_, iNCLUDlNG MED|AT|ON AND ARBi'i`RA`i'iON, PR|OR TO THE CASE
MANAGEMENT CONFERENCE. PARTiES lViAY FiLE THE ATTACHED STiPULATiON TO USE ALTERNATlVE
DlSPUTE RESOLUTiON (SDSC FORM #CIV~359).

YOU MAY ALSO BE ORDERED TO PARTiCiPATE iN ARBiTRATiON. iF THE CASE |S ORDERED TO ARBiTRATiON
PURSUANT TO CODE CiV, PROC. 1411.11, THE COSTS OF ARBITRATION Wit.i. BE PA|D BY THE COURT
PURSUANT TO CODE CiV. PROC. 1141.28.

ron none iNFoRMArioN, see an-; ATTACHED ALrERNATivE DisPuTE nesoi_unon (ADR) iNFoRr\/iArioN
FoRi\/i (sosc r=oRi\/i #civ_'/ac)

 

sosc civ-72t (Rev. 11-06) segal
NOT|CE OF CASE ASSIGNMENT

EXh. A, p. 04

Case 3:11-Cv-00858-.]LS-Wi\/|C Document 1-2 Filed 04/22/11 Page|D.lZ Page€0f43

` l

 

1 JAMES F. CLAPP(145314) li-i~ti'iii itt Pit 21 lift
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zdostart@sdlaw.com

DOSTART CLAPP & COVENEY, LLP

4370 La Jolia Village Drive, Suite 970

San Dicgo, California 92122-1253

Tel: 85 8~623-4200

Fax: 858-623~4299

"l

 

    

h W' N

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HOLSENBACK APC

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' San Dicgo, CA 92122~1253
Tcicphone: 619»269»4634

Facsimiie: 619_269-4635

\c'-oo-`\x c\ ut

10 Attomeys for Plaintiffs

 

 

 

11
12 . SUPERIOR COURT OF THE STATE OF CALIFORNIA
13 1 IN AND FOR THE COUNTY OF SAN DIEGO - NORTH COUNTY
14
15 CAPTAIN BOUNCE, INC., SEVAG CASE NO.
KALAJAIN, SAMUEL 37~2011 ~00052329~CU~BT~NC
16 KI~IATOMATOURIAN, and TAMRA CLASS ACTION COMPLAINT
CO'VIELLO dba KC DANCEGEAR_,
17 individually and on behalf of ali others l. Usury
similarly situated, 2. Money Had and Received
18 3. Unt"air Competit'ion
_ Plaintiffs, 4. Dcclaratory Relicf
19
" vs.
20 `
BUSINESS FINANCIAL SERVICES, INC.,
21 BUSINESS CASH ADVANCE, INC.,
FATON, INC., and DOES 1 through 50,
22
' " Defcndants.
23
24
25
26
27
28

 

 

 

cLASs Ac'rroN coMPLAINT Exh. A, p. 05

 

Case 3:11-Cv-00858-.]LS-Wi\/|C Document 1-2 Filed 04/22/11 Page|D.lS Page70f43

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INTRODUCTION
l. ' Plaintiff Captaiu Bounce, lnc, is a California corporation with its principal place of

business in San Fcrnando, Califomia. Plaintiffs|Sc\/ag Kalajain and Samucl Kha§natourian are

individuals residing in the Statc of California. Kalajain and Khatmatourian arc the principals of n

4 Captain Bounce, Inc.

2. Plaintiff Tamra Covicllo dba KC Dancegear is a sole proprietorship with its
p1incipal place of business 111 Escondido, Callfornia Covicllo rs an individual residmg m the Statc

of Califomia Covicllo 13 the principal of KC Dancegcar.

3. Defcndant Business Financial Scrvices, Inc., is a North Carolina corporation that v

does business in the State of Califomia. Defcndant Busincss Cash Advancc, Inc., is a Florlda
foreign corporation that does business in the State of California. Dcfendant Faton, Inc., is a
Florlda corporation that does business in the State_ of Califomia. _

4. Plaintiffs do not know the names of those defendants sued as DOES l through 50
but will amend this complaint when those names become known. Plaintiffs allege on information
and belief that each of the defendants, including the DOE defendants, is liable for the conduct
alleged herein, either as a principal, agent, successor, alter cgo, or cc-conspirator of each of the
other defendants

5. Venue ls proper in this judicial district because the complained of conduct occurred
in this judicial district

FACTUAL BACKGROUND

6. Defendants are in the business of providing a form of short-term financing known
as a “merchant cash advance.” ln va merchant cash advance, a finance company lends a borrower
(the “mcrchant”) a lump sum of money secured by thc borrower’s future credit card sales. The
borrower is required to direct its credit card processing company to pay the finance company a
percentage of the borrower’s credit card receipts until the loan is repaid in full. Thc effective
annual interest rate on those loans exceeds the interest rate limit established by Article XV,
Section 1(2) of the Califomia Constitution. Plaintiffs are informed and believe that defendants arc

not licensed or otherwise authorized to make loans in the Statc of California.

CLASS ACTION COMPLAINT
EXh. A, p. 06

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7. On August 7, 2009, Captain Bounce, Inc. entered into a merchant cash advance
transaction with defendants The loan agreement, entitled “Accounts Receivable Purchase
Agreement,” is attached hereto as Exhibit l (the “Agreernent”). The loan was for $40,000, and the
effective annual interest rate was approximately 90%. '

8. Between June'-and October of 2010, plaintiff KC Dancegear entered into two '
merchant cash advance transactions with defendants Both loan agreements are substantially
similar to the document attached hereto as Exhibit 2. The loans were for $6,500 and $5,000,
respectively, and the effective annual interest rate on each loan was approximately 70%.

9. Plaintiffs are informed and believe that defendants contend that the merchant cash
advances they made to plaintiffs and other California borrowers are not subject to Californ'ia’s _
usury law because they are sales of future receivables instead of loans However, Cal. Civ. Code:
section 1912 defines a “loan of money” as “a contract by which one delivers a sum of money‘to
another, and the latter agrees to return at a future time equivalent to that which he boirowed.”_ The_
merchant cash advances made by defendants to plaintiffs and other California borrowers meet'the
definition set forth in Section 1912. Furthennore, the following additional facts establish that
defendants’ merchant cash advances are loans rather than sales: (l) unlike a sale, which is~
consummated when the money is paid and the property is delivered, the merchant cash advance is
not complete until the money advanced by defendants is repaid in full; (2) defendants’ only
obligation in a merchant cash advance is to advance cash to the borrower; (3) defendants do-not
bear any risk of capital loss in a merchant cash advance other than the risk associated with the
borrower’s inability to pay', (4) borrowers are required to reimburse defendants for any losses they
incur in connection with the advance; (5) defendants are entitled to accelerate the borrowers’
payments in the event of their default; (6) borrowers are required to submit a credit application and
submit to a credit check prior to entering into the merchant cash advance; (7) defendants
underwrite the merchant cash advance by assessing the creditworthiness of theiborrow_ers_;_($,).
defendants collateralize the merchant cash advances by filing UCC~] financing statements ; and (9)

defendants require the individual owners of the borrowers to execute personal guarantees

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CLASS ACTION COMPLAIN'I`
Exh. A, p. 07

 

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CLASS ALLEGATIONS
10. Class Defmition. Plaintiffs bring this lawsuit as a class action under Cal. Code Civ.
Proc. section 382. Plaintiffs seek to represent the following Class: “All natural persons or
business entities in the State of California that, during the four years preceding the filing of this
complaint, entered into a merchant cash advance transaction with defendants.”
ll. Numerosity. Pl.aintiff alleges on information and belief that the Class consists of »
well over 100 members

12. Ascertainable Class The members of the Class may be ascertained from `

defendants’ business records

13. Common Ouestions of Fact or Law. This lawsuit is suitable for class treatment
because common questions of fact and law predominate over any individual issues Common
questions include, but are not limited to: (l) whether defendants’ merchant cash advance

transactions are loans under California law; (2) whether defendants are licensed or otherwise

_ authorized to make loans in the State of California; (3) whether the loans are subject ~to

C_alifornia’s usury law; (4) whether defendants engaged in unlawful, unfair or fraudulent_business:
acts or practices; and (5) the appropriate remedies for defendants’ conduct

l4,l Tvpicalitv and Adequacv. Plaintiffs’ claims are typical of the claims of all other
Class members Plaintiffs will fairly and adequately protect the interests of the other Class
members and have no interests that are adverse to the'Class members

15. Superiority. A class action is superior to other means for the fair and efficient _
adjudication of this controversy. Class treatment will permit a large number of similarly situated-
persons to prosecute their common claims in a single forum simultaneously, efficiently, land
without unnecessary duplication of effort or expense Class treatment will also avoid the
possibility of inconsistent judgments

l6. Defendants l-Iave Acted on Grounds Generallv Applicable to the Class Defendants
have acted on grounds that are generally applicable to the Class, thereby making appropriate final

injunctive relief or corresponding declarative relief with respect to the Class as a whole

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CLAss ACrtoN coMPLAINr
Exh. A, p. 08

 

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riasr cAUsE or AcrroN
(Usury)
l7. Plaintiffs incorporate the preceding paragraphs as though fully set forth herein v
18. T he merchant cash advance transactions between defendants and the Class
members including plaintiffs were loans n
19. The annual interest rates on the merchant cash advance transactions entered into

between defendants and the Class members, including plaintiffs exceeded the interest rate limit

_ established under Article XV, Section 1(2) of the Califomia Constitution.

20. The principal of the merchant cash advances plus the applicable finance charges
were absolutely repayable by the Class members, including plaintiffs

2l. Defendants had a willful intent to enter into usurious transactions with the Class
members including plaintiffs l _

22. Pursuant to Cal. Uncodified lnitiative Measures and Statutes l9l9_-l, ~Section`_3,,
plaintiffs and the Class members are entitled to three times the interest paid on the usurious
transactions in an amount to be proved at trial.

23. Defendants’ acts were willful, malicious oppressive, and done in conscious
disregard of the rights of plaintiffs and the Class members, entitling plaintiffs and the Class
members to an award of punitive damages in an amount to be proved at trial.

SECOND CAUSE OF AC'l`ION
(Money Had and Received)

24. Plaintiffs incorporate the preceding paragraphs as though fully set forth herein

25. Defendants have received money in the form of usurious interest that is the
property of plaintiffs and the Class members In equity and good conscience, defendants must
restore that money to plaintiffs and the Class members

THIRD CAUSE OF ACTION
(Violation of Cal. Business & Prof. Code section 17200 et seq.)

26. Plaintiffs incorporate the preceding paragraphs as though fully set forth herein.

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27. By making illegal loans to plaintiffs and the Class members defendants have
engaged in unlawful, unfair or fraudulent business acts or practices with respect to plaintiffs and
the Class members in violation of Cal. Bus. & Prof. Code section 17200 et_seq _ _

28. Plaintiffs have suffered injury in fact and lost money as a result of defendants’ acts
of unfair competition

29. Pursuant to Cal. Bus. & Prof. Code section 17203, plaintiffs and the'Class-m'embers
are entitled to an order: (l) requiring defendants to make restitution to plaintiffs and the Class
members; (2) cancelling the indebtedness owed by plaintiffs and the Class members; (3)
cancelling any UCC-l financing statements filed with respect to plaintiffs and the Class members;
(4) cancelling any personal guarantees executed by plaintiffs and the Class members; and (5)-
enjoining defendants from making illegal loans in the State of California

trouan CAUsE or AcrioN '
(Declaratory Reliet} '

30. Plaintiffs incorporate the preceding paragraphs as though fully set forth herein

3l. Plaintiffs contend that the following provisions cf the Agreement are unenforceable
because they are unconscionable and contrary to California public policy:

32. Arbitration Provision. Paragraph 21 of the Agreement states that any dispute
between the parties must be brought in arbitration This provision is unconscionable _'"l`-he
Agreement is a contract of adhesion, which is presented to borrowers on a take-it~or~leave-it basis,
without any meaningful opportunity for negotiation As compared t_o their borrowers including
plaintiffs defendants have vastly superior bargaining power. Purthermore, the arbitration
provision is substantively unfair, for at least the following reasons: Pirst, the arbitration provision
contains an unconscionable class action waiver. Defendants’ purpose in requiring borrowers to
agree to the class action Waiver is to deny them a realistic opportunity to challenge the usurious
nature of the loans, as part of an overall scheme to cheat a large number of borrowers out of
individually small sums of money. Second, the arbitration provision requires the losing party to
pay the entire costs and fees associated with the arbitration Third, the arbitration provision is

unilateral, in that defendants retain their right to bring claims for injunctive relief in court, whereas

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plaintiffs ostensibly do not have that right Fourth, the arbitration provision forbids the arbitrator
from awarding punitive damages

33. Choice of Law and Venue Provisions. Paragraph 23 of the Agreernent states that
North Carolina law governs the Agreement and that any action arising from the Agreement~ that is ~
not subject to the arbitration provision must be brought in North Carolina. However, this
provision is unenforceable because California has a strong public policy against usury and a v
greater interest than North Carolina in having its law applied The subject loans were negotiated
in California; the borrower and the individual guarantor are located in California; the place of .
performance was California; the sources cf repayment were credit card transactions that occurred
in California; and defendants recorded UCC~l financing statements-in California. Enforcement.of
the choice of law and venue provisions would vitiate plaintiffs’ rights under California law and i-
would violate California’s strong public policies l

34. Plaintiffs are informed and believe that defendants contend that the above-
referenced provisions are enforceable Consequently, a dispute has arisen and now exists_betw`e.en
plaintiffs and defendants, entitling plaintiffs to declaratory judgment regarding the enforceability
of_ these provisions y

PRAYER

WHEREFORE, plaintiffs pray for judgment against defendants, jointly and severally, as

 

_ follows:

l. F or compensatory damages according to proof',
2. For punitive damages according to proof;
3. F or restitution and injunctive relief as prayed for herein;
4. For declaratory relief as prayed for herein;
5. For pre-judgment interest;
6. For reasonable attorneys’ fees and costs of suit', and
7. For such other relief as the Court deems proper. ‘

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7
_ CLASS AC'l`l`ON COMPLAINT

Exh. A, p. 11

 

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Dated; M'arch [_C`j, 2011 Dosr r cLAPP & CovENEY, LLP

z / __/c'”"i
i` S F. CL'AED
' eys for Plaintiffs

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CLASS ACTI.ON COMPLAINT

 

Exh. A, p. 12

 

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ACCOUNTS RECE|VABLE PURCHASE AGREEMENT

Thls Accounfs Recelvable Purchase Agreemcnl wllh Securlly Agreemenl and Personal Guaranly l“Agreement'), dated as of Augu§l g7,
;Q_Q_& (lhe “lssus Dato“), ls made by and among Buslness Flnancial Scrvlces, lnc., a North Carolina corporation (lhe "Purchaser"), and QQU
§ouncc, lnc. DBA Caplaln Bounce (clrcle cnc) {ccrporallon / limited liability company/limited partnemhip/general partnership/sole proprietorshipl
organized under lhe laws of the Slate of Callfomla located al W__ Mmggdo, CA , 9134Q ("Merchanr‘), and Ssvag llllskarl
Kalajain, Samuel Khatomatourlan, (“Guarantor[s]").
M'erchant's lnlormallon:
Nam€¢ Q§P`;LlrL__a' Bouonedna.D_BAQanlaln_Bcnccc_

 

 

 

Address; 'San Femanclo, CA , 91340
Attn: §ev_ag____ Nlel<arlK ___g__ laia alg,Samu§l Khatomatourlag,_
Phone:

Facslmlle:

Banl< Name:@ldg;igns_l_

Account Number:

(lhe "Buslncss Acco unl")
Roullng Numher:

 

 

 

WHEREAS, Merchanl is agreelng to lransler, sell and assign lo Purchaser. in accordance with the terms cl lhls Agrcemonl, all of its right llllo and
interest in a percentage equal lo the Selllomcnl Percenlage (heleafter dellned) cl lhe accounls receivable owed to lhe Merchant by its Processor las clothed bclow)
lhal are generated from debit or credit card charges presented by l\/lerchanl lo Prccossoi, whsn, lf and as such accounts reoe|vabla arise out of the sale ol goods or
rendition cl services created in the oidlnal'y course ol Merchanl`s business (lho Soll|omonl Porcenlage cl such accounls receivable the 'Furchased Receivablcs')
and to grant lo Purchaser a security interest as sol forth horsln. As a further lnducemsnl lo Purchaser to assume the obligations described herein. the Guarantors are
giving lo Purchaser ll1e`11 personal guaranty lo lhs extent described hereln; and 1 - ~

WHEREAS, Merchanl ls presently party lc, or simultaneously herewith entering lnlo an agreement in the form annexed hereto as Exhl`hll A¢(a_ .
’Procosslhg Agreamont’ and tcgolhe1 with thls Agreemenl and any olher agreemenl or document related lo lhls lransacllon. lhe 'Transacllon Documsnls”) wllh a
processor (togsthcr wllh any subsequent processor servicing the merchant in accordance wllh this Agroamenl the “Procsssor") lo oblalo credit card processlng
services '

NOW THEREFORE. in consideration cl lhe premises and the mutual covenants and agreements hereinafter sol lorlh the sulllclency of which the
parties acknowledgo, the parties hereto hereby agree as follows

1 Qellnlllogs. For the purposes of this Agrsemsnl. the lo|lowing capitallzcd terms shall have the mcanlngs ascribed lo them below: (1) 'Afflllals
(s)° means', with respect lo any given Person other than a partnership or limited liability oompany. any other Parson directly or indirectly controlling controlled by cr
under common control with such Person and with respect lo a parlnershlp, the partners cl such partnership and wllh respect lo a limited liability company. the
members and managers of such limited llabilny company; (ll) Buslness Day’ means any day lhal` 1a not a Salurday. Sunday or a legal holiday' 111 the Stalc cl Northi
Carollna on which banking lnslilullons 1n Charlolle Norlh Carolma are authorized or obllgaled by law or executive order lo close; (l1i) “CoI/a`lcral` shall consist of all cl l iv
the personal property cl lhs Merchanl wherever located and now owned and hereafter acquired lncludlng. wl lhcul llmllalicn: la )accounls, includingl without limitation
debll or credit card receivables whether now existing or created in the fulure; (b) chattel papor; (c) lnveclory; (d) equlpmenl; (e) instruments including without
llmllatlon. promissory noles; (1) investment propeny; lg) documenxs; (h) deposit accounls; (l) teller of credit rlghls; (l) general inlanglbles; (l<) supportan obligallons; (l)'
proceeds and products of lhc loregolng; and (m) commercial tort claims; ('w) 'Dlspu¢e" shall mean any return, dlspule. deductionl olaim. offset. defense or counterclalm
of any kind arising in connection with or relaling lo any Purchased Recelvable; (v) “Llsn' means any mortgage pledge. |len, assignment security lnlerest or other
charge cr encumbrance, or any agreement lo create a_ llen; (vi) 'Psrson' means any indivldual, oorporallon. limlled llabllily company. parlnershlp, llrm; lolnl-verllur'e,
association joint stock company, trust or other entity or organization; (vli) “Procasds' means all proceeds ol. and all ethel prol|ls'. producls, rents or receipts in
whatever form, arlslng from the sale, exchange, assignment or other disposition of Collaleral; (viil) 'Securod Obllgatlons" means (s) Msrchanl‘s obligations under th'e
Transacllon' Documanls, including this Agresmenl; (b) all cl Merchanl‘s present and future obligallons lo Purchaser; (c) the repayment of (l) any amounts that
Purchaser may-advance 01 spend for the maintenance or preservation ol the Collaleral and (ll) any other expenditures that Pulchaser may make under the provisions
cl this Agrae'mcnl for the cogent cl Mcrchanl; (d) all amounts owed by Msrchanl under any modlllcallon, renewals or extensions of any cl the lorcgolng obligallo`ns;`(e)
all other amounts now or ln the future owed by Nlerchanl lo Purchaser; and (l) any of the foregoing that ar|sos after the llllng of a petition by cr against Dchlor under the
Tlllc 11 of the Unlled Slales.Ccde (lho “Banl<ruplcy Code'). oven ll such obligation does nol accrue because cl the automatic stay under Bankruplcy Code §362 01
olhorv'vlse; (ix) 'Socurl¢y Interesf‘ means the security lnleresl in the Ccl|aleral granted hereunder securing the Secured Ob|igatlons;

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and (x) 'UCC' means the Unilorrn Commerclai Code as in effect on the date hereot in the Siate of No_rth Caroi|na; provided that if by reason or
mandatory provisions of law the perfection or the effect of psriection or non- -perteclion of the Securlty interest rs governed by the Uniforrn Commerciai Code as in
effect in a jurisdiction other than North Carolina, 'UCC” means the Unllorm Commerclai Code as in effect is such other iurisd1ctron for purposes of the provisions hereof-
relating to such perfection or effect of perfection or non»perfection. Any term used in the UCC end not defined in this Agreement has the meaning given to the term in
the i.lCC. _

2. §_ngagerne_nt_as_l=@tgn Merchant hereby engages Purchaser as Merchant's sole tactor.

3. B__isi;. On all Purchased Receivab|es. Purchaser agrees to assume the risk of any loss that is due solely to the financial inability of Proces'sor` toy
pay such Purchasecl Recetvable pursuant to the Processing Agreemenl. ~

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(a) For purposes ot this Agreement, the following capitalized terms shall have the meanings ascribed to them bsiow:

(i) The 'Bank' is the bank that is a party to the Processing Agreement;

(ii) The ”Setilemont Amnunt,” for any period, is all ot Merchant‘s accounts receivables for credit card charges owing from Processor for such period that
comply with the terms of the Prccassing Agreernent and with rules ot the applicable card association and with the applicable merchant operating manuat, without
any deduction includingl without iimitaiion, for credils. adjustments fines, chargebacks or fees which charges become accounts receivable owing from Processor
to Merchant

(iii) The "Settlement Percentage" shall be 16 %.

(iv) The "Inltlal Deposlr', to be delivered to Merchant by Purchaser upon the execution of the Transaciion. Documents, is the sum ot
§40,-000 tlti which amount represents the anticipated aggregate Purchase Price of ali Purchased Receivables to be sold , transferred and
assigned by Merchant to Purchaser under this Agreement

(v) The “Fsce Amount`, for each Purchased Receivable, shell mean the face amount of such Purchased Receivable, without deduction for any returns,
discounts and credits or allowances ot any nature al any time issued, owing, cr claimed by Merchant’ s customers granted or outstanding and without deduction
ot any charges fees or commissions owing to, or claimed by. Processor cr Banlt granted or outstanding

(vi) The “Purchase Prlce, calculated for each Purchased Rece|vable, is the Face Amotrnt of such Purcnased Receivable minus the Purchaser` s
Commiseion on such Face Amount.

(vii) The 'Purchaser's Commrsslon’ on any amount ls alz&,(niue:tweoty_niulb§l ot that amount

(viii) 'Purchaser’s Share of Settiomont Payments" ior any period shall be equal to: (a) the Settiement Amount multiplied by (b) the Setliemertt
Percentage.in effect for that period litho Settlemsnt Percentage shall have changed during the period the relevant Settlement Percentage shall be equal to the
weighted average Setliement Percentage calculated in accordance with the number of days during which any given Settiernent Peroenlage shall have been in
effect

(i`x) The "Deposr‘t Balance,’ at any point in time, shall be the initial Depos|t minus an amount equal lo the aggregate Purchaso Prico of all Pu'rchascd
Receivabtes.prevlousiy lransterrod, sold and assigned to Purchaser pursuant to this Agreement.

(x) Ali defined terms referred to in the Preamble and Recilal Paragraphs are incorporated heroin by this relerence.

 

(b') _Sale and Assignment to Purchaser of Accounts Receivabte. Merchant hereby agrees to seli, transfer and assign to Purcheser; in
consideration ot Purchaser‘s paymenth the Purchase Price therefore and in accordance with the terms hereof, an aggregate amount of §5.8,0'00.00
F ace Amount of Purchased Receivables, when, ii and as such Purchased Receivabies are created by Merchant, immediately upon the creation ct '
such Purchased'Recelvables in the ordinary course of Merchant‘s business, in each case free and clear of any Liens. immediately upon the creation
ot any account receivable owed to the Merchant by its Processor, and without any further action by Merchant or by Purchaser, Merchant shall transier,
and assign to Purchaser Purohaser's Share ot Settiement Payments in respect of such account receivable

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(c) P_ay`rnent gt Purch_a_se £rice by Beggcttgg cl Depp_sil_§ala_npe. Upcn any sate, transfer and assignment of Purchased Receivables `by Merchant to
Purchaser, pursuant to Section 4(b), Purchaser shall pay Merchant the aggregate Purchase Price cl the Purchased Receivables that Merchant has lransterred,. sold o'r
assigned .lo Purchaser for the relevant period through a simultaneous reduction in the Deposit Balance in an amount equal to the Purchase Price for the Purchased
Receivables so transferredl sold and assigned during that period. Such amount by which the Deposit Ba|ance shall be reduced shall thereupon become the property
oi Merchant Notwilhstanding any provision to the contrary in Sectlon 4(b) hereol, il al any time the Deposlt Balance is less than the purchase Price of Purchased __
Receivables created since the prevtous payment from Purchaser to Merchant, then Merchant shall only assign, and Purchaser _shali only be obligated to pay lor, such
amount ct Purchased Recelvables created as the Deposlt Batance shall be sulliclent to purchase in accordance with Secllon 4{b) hereol, so as to leave a Deposil
Balance of zero (including any purchase that would result in Purchaser only acquiring a portion ot an account receivable), The Deposlt Balance may not be reduced by
any other means, including (bui not limited to) a direct cash payment from Merchant to Purchaser. except pursuant to Seclicn 7 or Sectlcn B.

(d)`_ReLn_iha_r_rge b measur_ml_'iayments in Respect ot Acccunts Receiyat)_le. Merchant hereby authorizes and directs the Processor to pay to Purch`aser
the Purchaser-'s Share cl Settlement Payment for every period, without verihcalion from Merchant. until Merchant has assigned to Purchaser Purchased Recelvab|'es ot §
aggregate Face Amount in the amount set forth in Section 4(b) and Purchaser shall have received payment tn lull ot ali such Purchased Receivables. For avoidance cl '
doubt. in-carrying out the direction in this Paragraph 4(d), Processor shall act solely in accordance with Purchaser‘s instructions to Processor, Such authorization and .
directicn.shal| be irrevocable without the written consent of Purcheser.

'(e) l_\/lonlhly Statemeni. Purchaser shall forward Merchant a monthly statement within ten (10) days alter the end ot each mcnlh. which shall conclusively
establishl tor the purposes ot this Agreerneni, an account stated identiiying the Face Arrtouni fQL£urclJa§.c_d_B§§£;t\talll§§. which may specity revised amouni§_tgi;
Eurct_ras_ed Receivat)|es previously purchased by Purchaser that have been subjected to tees, ohargebaclrs, tlnes. adjustments or other deductions by Processor or
Bank. Such statement shall be binding upon Merchant with respect to the matters rellecled therein, except to the extent that written exceptions thereto are delivered to
Purchaser within ten {‘iO) days after the date cl such statement is delivered

 

5. Bepresentatlons and Warranti§s of Merchant Merchant represents and warrants to Purchaser that on the dale homeland again on each date
on which the Deposit Balance' rs greater than zero. that .

(a) (i) li Merchant is a corporation limited liability company. limited partnership or general partnership then it is validly existing and in good standing under
the laws oi'its state ct organization; it has ali requisite power and authority to'own, lease, pledge and operate its properties and assets and to canyon its business as
presently conducted; lt has ali requisite power and authority to execute and deliver each `iransacttcn Document and to perform all ct its obligations and undertakings
and to carry out the transactions contemplatedl under each Transaclton Document; and the execution and delivery ot. end the pedcrmance of ali obligations of .
Merchant under, each Transactlon Documenl. have been duly and validly authorized hyatt necessary action

(ii) if Merchant is a sole proprietorshipl then the natural person who` is the sole proprietor has ali requisite power and authority to ownl lease. pledge and
operate its properties and assets and to canyon lis business as presently conducted; and has the full and unrestricted legal capacity to execute and deliver each
Transaction Documenl and to perform all ot his or her obligations end undertakings and to carry out the transactions contemplatedl under each Transaclicn
Document.

.(b)'Each Purchased Receivabie is and al the time ct lransier, sale and assignment to Purchaser will be bona f de end existing obligations ci the Processorv _
or Bank arising out ot the sale ot goods and/or the rendition cl services in the ordinary course ot Merchanl' s businessl free and clear of all Liens and security interests,
owned by and owing to Merchant without any Dispule.

(c) Merchant is solvent and fully authorized to assign and sell transfer and assign the Purchasad Recelvabies hereunder

(d) The execution delivery and pertormance ot this Agreernent and the consummation ot the transactions contemplated hereundar. and compliance with the
provisions ot' each Transaction Document, does not and will not (i) violate the certilicate ot incorporation limited liability company certihcate, limited liability company
agreement partnership agreement or other organizational document or bylaws ot Merchant (li) contlict with, or result in any vtolation. ot any applicable lawl rule,
regulation iudgment, injunction order or decree. or (ilt) conflict wllh, constitute a detau|t. or entitle any person or entity to receipt of notice or to a right ot consent, or
give rise to a right of termination cancellation or acceleration of any obligation or to loss ot a benefit or tc any lncreased, additionai, accelerated or guaranteed rights
or entitlement ot any person or entity. or result in the creation ot any claim on the properties or assets ol Merchani. under any provision cl any agreement or other
instrument binding upon Merchant

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(e) There is no action suit. ciaim, investigation or legal or administrative or arbitration proceeding pending or currently threatened whether al law or in equity
or betore any federall state, locei, toreign or other court, governmental department, commission board, bureau, agency or instrumentality(colleclively, 'Governmental
Authon'tles') against ivierchantl

(i) Merchant is in compliance with ali sialutes, ruies. regulations orders or restrictions oi ali applicable Governmenlal Authorltles. All federal, slate, local and
foreign tax returns and tax reports, and ali taxes due and payable arising there from required to by fried by Merchant have been or will be liied and patd, on a timely
basis (inoiuding any extensions). All such returns and reports are and will be true. correct and complete Merchant has disclosed to Purchaser in writing all ot its
material liabilities and, to the best of its knowledge knows of no material contingent liabilities except current liabilities incurred in the ordinary course ot business
consistent with past practice. Merchant’s accounts receivable are generated in the ordinary course of the conduct ot commerce or business '

‘(g) Merchant is not the owner ot any commercial tort claims as ot the date ot execution of this Agreement‘ and to the extent lt becomes owner of any
commercial-tort claims subsequent to the date ot this Agreement. it will assign same to Purchaser as Coiiaterai and cooperate with Purchaser and take such actions
and execute and deliver such documents as Purcheser shall reasonably requestl in perfecting such security interest

6. Qo_v_en_a_r_rts. (a) Merchant shall (i) maintain adequate insurance providing coverage consistent with that ordinarily maintained by similarly situated
businesses and (ii) conduct its business consistent with past practice '

(t)) Olher'than Processor. Merchant shall have no credit card terminal or processor tn any location giving rise to accounts receivable or. except as otherwise _
provided in this Ssction 6. amend in any way or terminate the Processtng Agreement, without Purchaser‘s prior written consent The Processing Agreemenl shall
remain in effect for a minimum ot two (2) years from the date hereot, and. in any case, shall not be terminated by Merchant until the Deposii Batance shall be reduced
to zero. Merchant shall not allow any event to occur that could reasonably be expected to adversely affect Merchani’s ability to accept debit or credit cards under the
Processing Agreernent or its customers use cl such cards Merchant acknowledges and agrees that the Prccessor may provide Purchaser with Merchant's credit card
transaction history

_ (c) Promp`liy upon learning ot a Diepute or threatened Dispute. (i) Merchant shall notin Purchaser in writing. and (ii) title to the Purchased Receivabies that
are the subject ot the Dispute shall re-vest in Merchant and any previous reduction ot the Deposit Be|ance with respect to such Purchased Receivable previously
credited to Merchant with respect to that Purcha_sed Receivabie shall be reversed Merchant shall indemnify Purchaser irom. and hold ii harmless in respect of. any '
|osses, liabilities damages costs and expenses (including attorneysy and other professionals fees and expenses) arising out ot or incurred in connection with such
Dispute.

(d) Merchant agrees that all information about Purchaser disclosed toilet anytime in connection with this Agreernent. including this Agreom`eht. shall be .

kept confidential and shell not be directly or indirectly disclosed to any person or entiiy, except (x) with Purohaeer’s prior written coneent; (y.) as may be required by

|aw; or (z)~such information which is cr becomes generally available other then as a result of a violation of this provision cr any term of this Agreement. in the event ot.a
breach-or a threatened breach by Merchant of the provisions of this section, Purchaser shall be entitled to an injunction restraining Merchant from such breach_'or
threatened breach. The obligations set forth in this section shall be continuing and shall survive the termination of this Agreernent. Merchant hereby acknowledges that
money damages would be insufficient and. in advance agrees to the granting of injunctive relief initio Purcheser'e favor without proof of actual damages in thel event

that such equitable reiter is granted, such remedy or remedies tor breach or threatened breach shot not be deemed to be the exclusive remedy or remedies available _ _ _
at law or equity to Purchaser. v ~ n ~

(e) As long as the Deposii Baianoe is greater than zero, the Merchant shall not. without the prior written consent ot Purch`a'ser: (i) incur any indebtedness
obligation or liebiiily, contingent or oihenulse (other than trade payables incurred in the ordinary course ot business and consistent with past practice), (ii) grant1 or
permit to be created any Lien other than the Security lnterest, (iii) mcrge, combine or consolidate with another entity, which merger, combination or consolidation
results iri-less than 50% of the outstanding voting securities cl the resulting entity being owned by the then existing holders of securities of the Merchant (e ‘Chango of
Controf), (lv) transfer, assign, ticense, seii. lease or otherwise dispose ot ali or substantially ali of its assets to a Person that is not a whoiiy»cwned subsidiary of the-
Merchani; provided that the Merchant shall cause any such subsidiary lo comply with the provisions of this Seciion 6(e), (v) close the Business Account (a`nd the
Merchant shall promptty~depos|t all revenues received in the ordinary course of business in the Buslness Accounl), (vi) open or maintain any checking account other
than the Business Account, or (vih take any action to discourage the use of credit cards or to permit any event to occur which could have an adverse effect cn-the use,
acceptance or authorization of credit cards for the purchase ot Merchants' goods motor services, change its arrangements with Processor in any way which is adverse
to the Purch aser.

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7. Eventa of Detau|t. ii one or more of the following events {'Events of Der'ault’) shall have occurred and be continuing: (i) the Merchant shall fail
to assign any account receivable required by this Agreement to be assigned to Purchaserwhite the Deposit Baiance is greater than zero, or shall fail to pay any fees or
any other amount payable under any Transaction Document when due; (ii) the Merchant shall fail to observe or perform any covenant or agreement or any
representation warranty, certihcation or statement made by the Merchant in, or delivered pursuant to or in connection with, any Transaclion' Dooumenl. shall have
been incorrect in any materiai respect when made (or deemed made); (tii) a judgment or order for the payment of money shall be rendered against the Merchant which
shall continue unsatisfied and .unstayed ior a period of 10 daye; fiv) the Merchant undergoes a Change ct Control; (v) the Merchant shall commence a voluntary case
or other proceedingl or consent to an involuntary case, seeking tiquidaiion. reorganization or other relief with respect tc itself or its debts under any bankruptcy,
insolvency or other similar law now or hereafter in effect or seeking the appointment ot a lrustee, receiver, tiquidator, custodian or other stmitar official of it or any
substantial part of its property (colleclively, 'Benkruptc,v Rcflcf'), or shall make a general assignment for the beneht of creditors or shall admit in writing its inability to.
pay its debis, or shall tab generally to pay its debts as they become due, or shall take any corporate action to authorize any of the loregcing; (vi) an involuntary case'o`r
other proceeding seeking Bankruptcy Relief shall be commenced against tire Merchant and shall remain undismtssed for a period of 60 days. or arr_ order for relief shall
be entered against the Merchant under the federal bankruptcy laws as now or hereafter in eitect; or Merchant shall dissolve or tiquidaie. or be dissolved or liquidated
or cease -to legally exist; '(vii) the Securiiy interest shall. tor any reason (oiher than Purohaser‘s failure to renew a UCC financing statement). cease to be a first priority;
perfected security interest in and to any Col|aierai and such event is not remedied within 5 days ct such laiture; or (vli) the Merchant shall default under any ct tire
Secured Obtigatione; then, and»in every such event, Purchaser (a) may. by written notice to the ti/lerchantl immediately terminate its obligations to purchase accounts
receivable under this Agreement, declare the Deposil Balance to be immediately due and payable without presentmenl. demand. protest or other notice of any kind, ali
ci which are hereby irrevocably waived by the Merchant; provided. that in the case of (v) cr (vi) above, without any notice to the Merchant or any other act by
Purchaeer, the Deposil Balance shall become immediately due and repayat)te by Merchant lo Purchaser without presentment demand. protest or notice .ot any kind,
which ere hereby irrevocably waived by the Merchant and (b) shall be entitled to the relief set forth in Section B(b) and may seek ali remedies to which tt is entitled by
law. equity, or statule, ali such remedies being cumulative '

8. lefllt.i!i§ii&u. (a) .T his Agreement, with the exception of Sectlon 6(d) and 14 hereot, shall terminate on the date on which the Deposit Baiance is
reduced to zerc. thwilhsianding anything herein to the contrary, all Purchasers rights and all of the ierms, conditions and provisions hereof, shall continue until all
amounts owing by Merchant under any Transaction Doouments have been paid in fuli.

. _ , (b) it any Event ot Defautt occurs, or upon the termination of this Agreemeni, Merchant shall pay to Purchaser all amounts payable to Purchaser under any '
Transaclion Document, including the Deposit Ba|anoe and. including, without iirnitation, upon the Merchant's breach ot any ot lis obtigalions under Sectton 6(.b);'
together with an additional amount equal to the aggregate Purchaser's Commissions calculated ln respect ot Purchased Recetvables that Purchaser would have
acquired pursuant to the terms of this Agreement had there been no Event ot Defauii and had the associated accounts receivables become Purchases Recelvables
under this Agroement, and together with any other amounts then due from Merchant under this Agreement, promptly upon demand by Purchaser. Purchaser may _
direct '-Processor, on Merchanl's behalf and without Merchant’s verification brother act or approvat of Merchani. to pay atl Merchanl's debit or credit card settlements to
Purchaser until payment for all unpaid Purchased Receivables, plus reimbursement of Purchaser'e expenses (lnoiudlng collection court and attorney iees), plus
inierest_on atl di the above at a rate of fifteen percent (15%) psr annum. or the highest rate permitted by applicable law, whichever shall be less, ls received by
Purchaser. in addition, Purchaser may collect ali sums due by debtling any bank account of Merchant by automated clearing house debit.

9. §rt_<;thty_lntters_tit. (a) The Merchant grants a security interest in the Collatera| to the Purchaser to secure the payment or performance of the
Secure'd Obtigations.

(b) (i) fire Merchant hereby represents and warrants that (A) the Securiiy interest constitutes a valid security interest under the UCC securing the Secured
Obligalions; and l(B) when UCC financing statements shall be filed in the appropriate filing oftice, the Securiiy interest shall constitute a perfected security interest in
the Co|iateral, prior to ali other Li`ens and rights of others therein and (C) the Merchant has rights ln. and marketable title to, the Coltaieral.

(ii) The Merchant covenants that without the prior written consent of Purchaser and delivery to Purchaser cl an appropriate legal opinion of counsel
acceptable to Purohaser, ii shall not during thc term of this Agreement (x) change its name. identity or corporate structure or change its jurisdiction of organization if

the perfected Securiiy interest shall not thereafter continue to be perfectedl or (y) transfer any rlght, title or interest in any Cotlaterai (including, without limitation to a
subsidiary) il such change would cause the Securiiy interest in such Coffaterei to lapse or cease to be perfected

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(iii) The Merchant shalt. irom time to time, at its expense lake such action that may be necessary or desirabte, or that Purchaser may reasonably request in
order to croate, preserve, perfect conan or validate the Securiiy interest or to enable Purchaser to exercise or enforce any ot its rights. powers and remedies
hereunder with respect to any of the Cotlaierat.

(c) in case ot the occurrence of any Event cl Defauit and at any lime thereafter during its continuancel Purchaser may exercise all rights of a secured party
under the UCC (whether or not in effect in the jurisdiction where such rights are exercised], Purchaser may be the purchaser ot any or all of the Collaterai sold at ahy
public sale The Merchant witt perform all actions as Purchaser in its sole discretion deems necessary or advisable in order that any such sale may be made in
compliance with law Upon any such sele. the Coilaterat shall be delivered assigned and transferred to Purchaser At any such sale, Purchaser shall hold the
Coliaterai tree from any claim or right. and the Merchant to the extent permitted by law, hereby specifically waives ali rights of rsdemption. stay or appraisal which it
has or may have under any law now existing or hereafter adopted

(d) The Merchant hereby irrevocably appoints Purchaser its true and lawful anomey-in- tact, said appointment being coupled with an interest with full power
ot substitution in the name of the Merchant for the soto use and benelit of Purchaser. but at the Merchant`s expenss, to the extent permitted by law. to exercise at any
time and from time to time white an Event of Dctau|t has occurred and ls continuing ali ot the following powers with respect to all or any of the Col|ateral: (i) to demand
sue lor, collect receive and give acquitiance for any and all monies due or lo become due thereon or by virtue thereoi; (ii) to sett|e, compromise compound prosecute
or detend any action or proceeding with respect thereto; (lii) to scl|. transler, assign or otherwise deal in or with the same ortho Proceeds thereot, as it Purchaser were
the absolute owner thereot, and (iv) to extendltha time ct payment of any or all thereof and to make any allowance and other adjustments with reference thereto; l
provided that Purchaser shall give the Merchant not less than 10 days' prior written notice ot the time and place ot any sale or other disposition oi any ot the Collaier'al,
except any Coitaterat which is perishabto, threatens to decline speedily in value or is customarily sold on a recognized market The Merchant agrees that such notice
constitutes “reasonable notilication' within the meaning ot Scction 9»610(b) oi the UCC.

10. Eu,r_tl_ter~/tss_gr_:a_rrctY. Merchant agrees lo execute any further documentsl instruments agreements and consents and to take any further
actions requested by Purchaser to evidence or perfect the Securiiy interest granted herein. to maintain the first priority oi the Securiiy |nterests, or to effectuate the
rights granted to Pu`rchaser herein or in any ot the Transaction Documents or documents or agreements comprising the Secured Obligations. Merchant shall have
possession of the Coltateral except where otherwise provided in the Transaclion Documents or where Purchaser chooses to perfect its secun'ty interest by possession

or controi.

. li. Qtt@.u'=lbl:t. Eacir Guarantor hereby jointly and severally unconditionally guarantees the (i) lull and punctual repayment under this Agreement,
or the initial Deposit or any Deposlt Batance, (ii) the full and punctual payment ct all other amounts payable by the Merchant under this A_grsemont and tiii) the tull-and
punctual performance by Merchant ct Merchant`s obligation to assign to Purchaser the aggregate amount ot Face Amount ot Purchesed Receivab|es described in
Sect|on 4(b) and (iv) the tull and punctual performance cl all ot Merchant's obligations under the Transactlon Dccuments. Upon the Merchant‘s breach ot any of its
obligations under Section B(b), Guerantor shell forthwith on demand promptly pay Purchasor the amount of the Deposit Baiance, together with an additional amount
equal to the aggregate Purchassr’e Commissions calculated in respect of Purchased Receivabtes that Purchacer would have acquired pursuant to the terms ot this
Agreement had the Merchant not violated such covenant and had the associated accounts receivables become Purchasod Recelvabies under this Agreeme'nt; and
together with any other amounts then due from Merchant under this Agreement. promptly upon demand by Purc.haser. The obligations ot Guarantor hereunder shall
be irrevocable unconditional and absolute and shall not be released or discharged until the Deposlt Ealance is reduced to zero and any other amount payable by the -
Merchant under this Agreement and any other Transaction Documents shall have been paid in tu|i. Guaranior irrevocably waives any requirement that at any time'any
action be telren by any Person against the Merchant or any other Person. ii acceleration ct the time for payment cl any amount payable under this Agreement or
under any Transaction Documents is stayed upon the insolvency. bankruptcy or reorganization ot the Merchant, such amount shall nonetheless be payable by
Guarantor hereunder forthwith on demand by Purchaser.

12. Wa_tvers_hy_§uarantor Each Guarantcr waives notice ot acceptance ot the Guaranty contained in this Agreement. notice ot any liabilities or
obligations including without limitation. the Secured Obligatione to which it may epply. presentment demand for payment, protest, notice of dishonor or nonpayment
ot any liabilities or default by the Merchant notice ct intent to accelerate. notice ot acceleration and notice ot any suit or the taking ot other action by Purchassr against
Merchant, Guarantor or any other person, any applicable statute ot limitations and any other notice to any party liable on any document evidencing the Secured`
Obllgatlons and Transaclion Documents (inctudlng Guarantor).

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Each lGuarantor~also hereby waives any oteim, right or remedy which such Guarenlor may now have or hereafter acquire against Merchant that arises hereunder
and/or from the periormance by any other Guarantor hereunder lncludlng. without lirnitelion, any claim, right or remedy ot subrogation reimbursement exoneration, »
contribution indemnification or participation in any claim, right or remedy of Purchaser against Merchant or against any security which Purchaser now has or hereafter
acquires, whether or not such clalm, right or remedy arises in equity, under contract by statute. under common law or othen)rlse. Each Guarantor also waives the
benefits of any provision of law requiring that Purchasar exhaust any right or remedy, or take any ection, against Merchant, any Guarantor, any other person and/or
property/including but not limited to the provisions of N.C. Gen. Stat. §25~3»605 and §26-7 through §26~9. inclusive. as amended, or otherwise This is a guaranty of
payment and not of collection Purchaser may at any time and from time to lime without notice to Guaranlor (except as required by law), without incurring
responsibility to Guaranlor. without impairing releasing or otherwise affecting the obligations of Guaranlor, in whole or in part, and without the endorsement or
execution by Guarantor of any additional consent, waiver or guaranty: (a) change the manner. place or terms of payment, or change or extend the time of or renew.
any liability or obligation or installment thereof, or any security therefore; (b) sell, exchange, releass. surrender, realize upon or otherwise deal with in any manner and
in any order any property at any time pledged or mortgaged to secure the liabilities or obligations and any offset there against; (c) exercise or refrain from exercising
any rights against Merchant or others (inctuding Guarantor) or act or refrain from acting in any other manner; (d) settle or compromise any liability or obligation or any
security therefore and subordinate the payment of all or any part thereof to the payment of any liability or obligation ot any other parties primarily or secondarily liable
on any of the liabilities or obligations; (e) release or compromise any liability of Guarantor hereunder or any liability or obligation ot any other parties primarily or
secondarily liable on any of the liabilities or obligations; or (f) apply any sums from any sources lo any liability without regard to any liabilities remaining unpaid The

phrases `lrabilities‘ and obligations as used herein shall include, without limitation the Secured Obligalions and Transection Documenls

13 tdoj_es. All notices required or permitted hereunder shall be rn writing and shall be deemed effectively given: (a) upon personal delivery, (b)
when sent by confirmed facsimile if sent during normal business hours of the recipient if nol, then on the next Business Day, (c) five (5) Business Days after having
been sent by registered or certified mail, return receipt rsquested. postage prepald, or (d) one (1) Business Day after deposit with a nationally recognized overnight
courier, specifying next day delivery, with written verification cf receipt All communications shall be sent to such address or facsimile number, in the case of the
Merchant set forth on tire lirst page of lhls Agreement, and in the case of the Purchaser and the Guarenlors. set forth beneath each such party's signature on the
signature page hereafter (except in the event that notice is provided by any party hereto in accordance with the terms cl this Seclion 13 that notices hereunder shall be
delivered to another address).

14. §unrjy_al. All covenants agreements representations and warranties made herein shall survive the execution hereof. and shall remainin effect
until lull performance by Merchant of all the Secured Obligalions and shall bind the successors and assigns cline parties hereto

_ 15. Amer_rdmegts_and_l_lyaivers. No modification amendment or waiver of any provision ot. or consent required by. this Agreement. nor any consent
lo any departure here lrom, shall be effective unless it is in writing and signed by both the Merchant and the Purohaser.

16. Els§lll§i!itltjtod_W_eilter_O_l_Bigb_l§.. No failure to exercise and no delay in exercising on the pari of any party. any right. power or privilege
hereunder shall operate as a waiver lhereof, nor shall any single or partial exercise ol any right. power or privilege preclude any other right, power or privilege The
rights and remedies herein provided are cumulative and are not exclusive cl any other rights or remedies provided by law.

17. meli_dlitt. Any term or provision of this Agreement shall be inelfective to the extent it is declared invalid or unenforceablel without rendering
invalid or enforceable the remaining terms and provisions of this Agreement. The unenforceability or invalidity of any provision of this Agreement shall not_affect the
enforceability or validity of any other provision herein and the invalidity or unenforceability of any provision of this Agreement or any agreement incorporated herein by .
reference or referenced herein to any person or circumstance shall not affect the enforceability or validity ot such provision as it may apply to other persons or
circumstances ~

18 Asslgn__me_n_t. Thls Agreernent and the rights and obligations hereunder shall not be assignable or transferable by the Merchant but shall be .
assignable by the Purchaser without the consent of the Merchant Any instrument purporting to make an assignment` rn violation of this Section 18 shall be void.

195 Binds Pgrchas er'§____ Assi rgne .Thls Agre_erneni shall bind and shell inure to the benefit of the heirs legatees, executors administrators
successors and assigns of the Purchaser.

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20. mcginnth in addition to all rights and remedies available to the parties hereto at law or in equity, the Merchant shall indemnity the
Purchaser, its Aftltiates. and their respective stockholdersl otticers, directors, employees agents successors and assigns (coliectivaly. the “lndemniffed Persons'),
and save and hold each lndemnined Person harmless from and against and pay on behaii ot or reimburse each such indemnified Person, as and when lncurred, for
any and all lossl liabl|ity. demand, otalnt, action, cause of action, cost, damage, dellcicnoy, tax. penalty. fine or expanee, whether or not arising out ot any claims by or
on behalf ot such indemnified Person or any third party, including without tlmltatton, interest penalties reasonable attorneys fees and expenses and all amounts paid
in investigation defense or settlement ot any ot the foregoing (inctuding. without limitation atl reasonable attorneys’ fees and expenses incurred in connection with the
entorcemant ot this Section 20), that any such indemnified Person may sutter. sustain. incur or become subject to. as a result oi. in connection wilh. relating 'or
incidental to or by virtue ot (i) any misrepresentation or breach ot warranty ot the Merchant under any of the Transactlon Docurnents. (ii) any nontulnllment, detault.or
breach ot any covenant or agreement oi the Merchant in any ot the Transaction Documents. or (rii) Purchaser’s efforts to entorce any provision ot this Agreemcnt.

21. A_rb_it;a_t'gn. (a) Notwtthstanding anything to the contrary contained herein, any dispute arising out ot or in connection with this Agreement shell
be settled exclusively and finally by arbitration conducted in the City ot Charlotto, North Carolina, under the commercial arbitration rules ot the American Arbitration
Association (the ’AAA”), such arbitration to apply the laws cl the State ol Norlh Carotina (withcut giving effect to contlict of laws principles). The arbitrator at such
arbitration shall not be entitled to award punitive damages to any pariy, and the costs and less ot such arbitration shall be borne by the losing party. The parties hereto
acknowledge and agree that this arbitration shall be solely between the parties to this agreement and no class arbitration or other representative action may be
undertaken by the arbitrators The arbitration shall be conducted by one neutral arbitrator, such arbitrator shall be appointed by the AAA.

(b) Reservation of rights. Nolhing in this arbitration provision shall be deemed to (i) limit the applicability ot any otherwise applicable statutes ot limitation or
repose and any-waivers contained tn this Agreement; or (ii) be a waiver by the Purohaser ot the protection atforded to lt by 12 U,S.C. sec 9l or any substantially
equivalent state law; or (iii) limit the right of the Purchaser hereto (a) to exercise sell help remedies such as' (but not limited to) setofi, or (b) to iorec|ose against any
real or personal property collateral, or (c) to obtain irom a court provisional or ancillary remedies such as (but not limited lo) lniunctive reliei, writ ot possession or the
appointment oi a receiver. The Purchaser may exercise such sell help rights. foreclose upon such property, or obtain such provisional cr ancillary remedies beioro,
during or after the pendency of any arbitration proceeding brought pursuant to this instrument agreement or document Neilher this exercise ot salt help remedies nor
the institution or maintenance of an action ior foreclosure or provisional or ancillary remedies shall constitute a waiver of the right of any party. including the claimant.in
any such action. to arbitrate the merits ot the controversy or claim occasioning resort to such remedies

22. /_tttorpeys Fees_ and ExiYnS_e_s Merchant shall pay, on demand att costs and expenses of collection or defense ct any ot the Tran`saction_
Documehls or of any endorsement or guaranty thereof and/or the enforcement or defense ot Purchaeer' s rights with respect to, or the administration supervisionl
preservation or protection ot, or realization upon, any property securing payment hereot. including, without limitation reasonable attorney‘ s lees, including fees related
to any suit, mediation or arbitration proceeding out of court payment agreement trial. appea|. bankruptcy proceedings or other proceeding in such amount as may be
determined reasonable by any arbitrator or court, whichever is applicable

23. Appnm_bhataw Venue and .iurisdlct_i@. This Agreement and the rights and obligations ot the Merchant the Purchaser and the Guar'antors
shall be governed by and interpreted in accordance with the law ot the Stete of Norlh Carotina (without giving effect to conflict of laws principles). ll there is any
litigation associated with this Agreementl or with any endorsement or guarantle this Agreernent or any Transaction Documants, between or among the-Merchant the
Purcha`ser:ar'rd the Guarantors (or any ot them) that is not immediately subject to arbitration under Seclion 21 (includlng, but not limited to, any action to compel
arbitration or to oonhrm an arbitral award), then as to such litigation. each of the toragolng persons irrevocably consents to and hereby confers personal jurisdiction
over such person on the courts of the State ot Norlh Carolina or ct the Unlted States located within the Stalo of Norlh Carolina, and expressly waive any objections as
to venue in any such courts. Nothing contained herein shatl. however, prevent the Purchaser trom bringing any action or exercising any rights within any other state or
jurisdiction or from obtaining personal jurisdiction by any other means available under applicable law.

24. Usa of Proceeds. The Merchant agrees and covenants that the proceeds oi this transaction are lo be used primarily ior business commercial
or agricultural purposes The Merchant acknowledges having read and understood and agrees to be bound by. atl terms and conditions ol this instrument and hereby
executes this Agreemenl under seal as ot the date here above written.

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25. Addiiignal Remegies_ot Eurgha§§r. li (i) a representation or warranty under Seclion 5 was lalse when made or no longer remains true. or (ii) a
covenant under Section 6 is breached by Merchant, cr (iii) an Event of Deiau|i occurs, then et Purchaser's eiection, Purchaser is hereby authorized at any iime, al its
option and without notice or demand to setoff and charge against any deposit accounts cl the Merchant (as well as any money, instruments securities documentsl
chattel paper, crediis, claims demandsl income and any other property, rights and interests of the Merchant), which at any time shall come into the possession or
custody or under the control ot the Purchaser (inciuding. without limitation any “eutomated clearing house' account or account with the Processor) or any cl its agents.

Afiiliates or correspondents any and all obligations due hereunder.

_ 26. Processirtg Fee. The Merchant authorizes acknowledges and agrees ihai. in connection with the execution oi this Agraemeni. an investigative
or consumer report may be obtained with respect to the Merchant and Guarantor(s). Accordingiy. the Merchant and each ot Guarantor(s) authorizes the Purchaser. its
agents-and representatives and any credit reporting agency employed by the Purchaser to investigate any references given or any other statements oi data obtained
from or about the Merchant cr any of its principals ior the purpose of this Agreemenl and io obtain credit reports at any time now or in the luture on the Merchant and
Guaranlor(s). Merchant acknowledges and agrees to pay Purchaser a $200.00 processing fee which will be deducted irom the initial Deposit attending and which fee
will not be credited to the Purchased Receivables. Merchant will be required to sei|, lransier and assign to Purchaser the aggregate amount ct Face Amounl ot
Purchased Racelvabies pursuant to Seciion 4 (b) ot this Agreement.

27. Daiabase Disciosure. Merchant acknowledges end agrees that Purchaser may report ic third party credit and'data reporting agencies
information relating to Merchant‘s participation in this Accounis Reoeivable Purchase Agreemenl ('Transaction'), including without limitation inionnation speciiicaily
identifying Merchant and its principals the amount oi the initial Deposii Amounl. Merchant's processing history resulting in payment oi Purchased Receiva`bies and
other information that third parties would reasonably rer on in evaluating the creditworthiness oi the Merchant (the ’Transaction lnformalion'). Merchant expressly
authorizes Purchaser’s disclosure of the Transection information as sol forth herein. and understands that the Transaction intonneiion will be readily available to
merchant cash advance companies and Merchanl‘s potential creditors

_ 28. Formaiion, The parties agree and acknowledge that this agreement was made and formed in North Carolina, the Purchaser being the last
party .to sign this agreement in the State of North Caroiina. Aii payments by Merchant under this agreement are to be made at the iotlowing address: 5852 B Faringdon
Piace. Raieigh. NC 27609.,

 

v 29. Execgtig_n ig _Q_o_grr_teroarts__e_nd_by_i-‘ac§imiie. This Agreement may be executed in two or more counterparis, by original cr facsimile signalure,
each of which so executed shall be deemed to be an original and such counterparts together shelton deemed lo be one and the same instrument

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tn Witness Whereoi, the parties have executed this Agreemeni under seat as of the date first above written
Merchant _Q§gtain_§gy_rlc_e,gp. DBA Cagtain Bognce

 

 

 

 

%By; (sEAL)* ¥@BY: (SEAL)*
Name: Sean i\)iei<art Kaia}atn ' Name: Samuei Khatomatourian
Titie: president Titie: Vice president
Date: . Date:
Guarantor Guerantor
Name; Sevag Mekari Ka|ajain Name: Samuei Khatomatourian
Address: Granacia Hiiis, CA, 91344 Address: La Crestna, CA,` 91th
Te_iephone: Teiephone;

Business F|nanc|ai Services, inc.

By:

Name: Susan Rui)in
Title: VP

Date:

NOTARY` FOR PU RCHASER:
STATE OF 'NORTH CAROUNA )

COUNTY OF WAKE _ )
i, a Notary Pubiic of said County and Staie, certify that §ersona|iy

came betore me this day in the Couniy of Wake, North Caroilna, and acknowledged that tie/she is of
, a corporation and that he/she, as being authorized to do so, executed the

toregoing on behalf ot the corporation

Wiiness- my hand and official seai. this the __,,_ day of

 

(Signature ot Notary' Pubiic)
(Notary Seai)
ivty commission expires:

 

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AC`COUNTS RECEIVABLE PURCHRSE AGREEMEN?

This Accounts Receivabie Purchase Agreemcnt with Security Agreernent and Perscnal Guarenty ('Agrocment'),
dated as of M,_znlg (the' "lssue Bato"), is made by and among Buslness Financial Services. lnc.. a Nonh
Csrolina"corporation (the “Funcheser”), end Iamm§_oxl§llg,_pa£j$§_mnggggg¢ (circle one) [oorporetion /
limited liability company/limited partnership/general partnership/sole proprietorshlp] organized under the laws of the
State oi _G_atl[clr'mlg located al __________”_______~jingn…§ ('Morchont’), end Tamre Anne
Covie|lo, ("Guare'ntorls]").

 

Feosir`nile:
Bani< Neme;
Accoun't N umber:

(the "Busr'ness Account")
Routing Number:

WHEREAS. Merchant is agreeing to transfer. sell and assign to Purohaser, in accordance with the
terms of this Agreement, ali of its right` title and interest in a percentage equal to the Settiement Percentage thereafter
dohned) of the accounts receivable owed to the Merchant by its Processor (as denned below) that are generated from
debit and credit card charges presented by Merchant to Pnooeesor. when, if and as such accounts receivable arise out
of the sale of goods or rendition of services created in the ordinary course of Merchant‘s business (the Settiement
Percentago of such accounts receivable the
"Purchased Recelvobles") and to grant to Purchaser a security interest as set forth herein As a further inducement to
Purchaser to assume the obligations described herein. the Guarehtors are giving to Purchaser their personal guaranty
to the extent described herein; and

WHEREAS, Merchant is presently party tol or simultaneously herewith entering into an agreement in
the form annexed hereto as Exhibit A (a "Processlrrg Agroement' end together with this Agreement and any
other agreement or document related to this transactionl the 'fmrrsaction Dooumenos") with a processor (together
with any subsequent processor servicing the merchant in accordance with this Agreernent the "Pmcessor") to obtain
credit card processing services

NOW THEREFORE. in consideration ot the premises end the mutual covenants end agreements hereinafter
set forth, the suftlclency of which the parties acknowledge the parties hereto hereby agree as followe:

1. _Dg!]nmgn§, For the purposes of this Agreement, the following capitalized terms shall have the
meanings ascribed to them below: th "At?lllate(s") means. with respect to any given Person other than a
partnership or limited liability oon'npany, any other Pcrson directly or indirectiy controlling controlled by or under

- common control with such Person- and with respect to a partnership. the partners of such parmerehip-and with respect
to a limited liability company, the members and managers of such limited liability company; (ii) 'Bt'wirrm Day"
means any day that is not a Saturday, Sunday or a legal hoiiday in the State of North Carollna on which banking
institutions in Charlotte. North Oarolina are authorized or obligated by law or executive order to close; (lli)

"CoI/ateral" shall consist of ali of the personal property of the Merchant wherever iocated_, and now owned and
hereafter acquired includingl without limitation; (e) accounts, including, without limitation debit or credit card
receivables, whether now existing or created in the future; (b) chattel peper; (c) inventory; (d) equipment; (e)
instruments includingl without limitation promissory nolos; (i) investment property; (g) documents (h) deposit
accounts; (i) letter of credit rights; (j) general intengit)les; (l<) supporting obligations; (i) proceeds and products of the
foregoing; and (m) commercial tort ciaims; (iv) "Dlspu¢e" shell mean any return. disoute. deduction oiaim. offset
defense or counterclaim or any kind arising in connection with or relating to any Purchased Recoivabie "Lien" means
any mortgage pledge, iien, assignment security interest or other charge or encumbranoe, or any agreement to create
a iien; (vi) ”Person"means any individuai, corporation limited liability oompany, partnership, lirm. joint venture.
association joint stock company, trustor other entity or organization; (vii) "Pmceed'.~z' means all proceeds of,

 

 

 

 

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and all other pronts, products rents or receipts in' whatever ionn, arising from the sale. c)<ch'zrlhgel assignment or _
other'disposition of Coliateral; (viii) "Sec¢rred `Obll`g'atlons” means (a) Merchant‘s obligations under the Transaction
Documents‘, including this Agreement; (b) ali of Merchant’e present and future obligations to Purchaser; (c) the
repayment of (i) any amounts that Purcheser may advance or spend for the maintenance or preservation of the
Collaterai end (ii) any other expenditures that Purchaser may make under the provisions of this Agreeme'nt for the
benefit of Merchant; (d) all amounts owed by Merchant under any modincation, renewals or extensions of any of the
foregoing obligationsl (e) all other amounts now or in the future owed by Merchant to Puroha'een end (f) any of the _
foregoing instances after the nian of e petition by or against Debtor under the ‘t`itle 11 of the Unitcd Stal'es' Code (the
"Bankruptcy Code"), even if such obligation does not accrue because of the automatic stay'under Bankruptcy Code
§362 or othe'rwise; (ix)_ "Securlty lnteros`t' means the security interest in the Collatoral granted hereunder
securing the Secured Obligations; and (x) °°UCC" means the Unifonn Commercial Code as in effect on the date
hereof in the State of North Caroiina; provided that it by reason of mandatory provisions of iaw, the perfection or the
effect of perfection or non-perfection of the Security interest is governed by the Urlifort‘n Co'mmercial Code as in effect
in a jurisdiction other than North Caroll`n'a,' "UCC"' means the Uniform Commer'clel Code as in effect is` such other
jurisdiction for purposes of the provisions hereof relating to such perfection or reflect of perfection or non-perfection
Any term used in the UCC end not defined in this Agreement has the meaning given to the term in the UCC.

2. immmg_hg_lm, Merchant hereby engages Purcheaer as Merchant’s sole iactor.

' 3. 5ng On all Purchaeed Roccivables, Purohaser agrees to assume the risk of any loss that is due
solely to the financial inability of Proces§or to pay such Purohased Receivable pursuant to the Prccesslng Agneement.
4.
(a) For purposes cl this Agreement, the following capitalized terms shell have the meanings ascribed to them belcw:

(i) The "Eank" is the bank that is a party to the Prooessing Agre'ement; '

(ii) The "$'e`rrlemant Amount", for any periodl is all of Merchant‘s accounts receivables for debit and credit card
charges owing from Processor for such period that comply with the terms cf the Processing Agreement and with rules
of the applicable card association and with the applicable merchant operating manual without any deduction inciddin'g'.,
without limitetion,-for'credlts, adjustments tinee. chargebacks or fees which charges become accounts receivable owing
from Proc`e'.ss'di_" to Merchant l . _ . _

_ trri)' nrc '“senram'ent encouraged shell ve 14 %-. __ _ _ ‘ _ , _ _ .

(iv) The "‘lnit'fsl D'e`po`sit'; to be delivered to Merchant by Pu`rcheser upon the execution of the Transaction _
Docum'en`te',. is the sum of §§.m}_ll_,gq, which amount represents the anticipated aggregate Purchese Price of all
Purchased Reoeivables to be sold, transferred and assigned by Merchant to Purchaaer under this Agreement.

(v) The “Fece Amount". for each Purchased Receivable. shall mean the face amount of such Purchased
Receivabie, without deduction for any retums, discounts and credits or allowances of any nature at any time iesued,
owing, or claimed by Merchant's customers granted or outstanding end without deduction of any charges fees or
commissions owing to, or claimed by. Processoror Bank. granted or outstanding

(vi) The "Purchas'e Pnlce”, calculated for each Purchesed Receiveble, is the Fa'ce Amount of such Purchased
Receiv'abl'e minus the Purchaser's Commiaslon on such Faoe Am'ount. _ .

(vii) The "Puhchas'ar's Commlssl_on" on any amount is mmmy_;mmhm of that ambunt._ _

(vill) "Purcha!isar‘s Share of Se`ttf' mont Pay`mants" for any period shall be equal to: (a) the Settlement Arnou"nt_
multiplied by (b) the Settlement Percentage in effect for that period if the Settiernent Percentage shell have changed
during the penod\ the relevant Settle'ment Fercemage shall be equal to the weighted average Settiement l=ercentage
calculated in accordance with the number of days during which any given Settie'ment Percente'ge shell have been in

(i)c)` Th"e_ ""Deposl`f Ba'len'co`". at any point in time, shell be the initial De`posit minus en amount equal to the 1 v
aggregate Puroh'ese' Price of all Purchs'sed previously transferred sold and assigned to Purchas'er pursuant to this
Agreer`r`t'e`nt. _ v _ ; . ._ _ _ _ _

(x) All defined terms referred to in the hreamble and Reoital Pa'ragra'pfis are incorporated herein by this reference
(b) ' " ` " ` ' ` " " ' 'ooounts Receiv"eble. Merchant hereby agrees to sell.`transler and assign tod
Purchas'er`, in consideration of Purcha`s`e_r‘s payment of the Purohase` Price therefci"'e end in awordance with the terms
hereof!ia_‘n aggregate amount of §§,.Z§g.ml Face Amount of Purchased R`eceivabtes, when, if and as such Pur`chaeed
Receivables'are created by Merchant, immediately upon the creation of such Pur`chas`ed R'e`ceivables in the ordinary ._
course of Merchant‘s business in each case free and clear of any Liens immediately upon the creation of any account _
receivable owed to the Merchant by its Processor. and without any further action by Merchant cr by Purchaser, _
Merchant shall transfer, and assign to Punchaser Purchaser‘s Share of Sett.iament Peyments in respect of such account

receivable (C/

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(c) _" ..~, _ ' ,- .-_, _; ., '_-_' ,, __'¢_i_ 9 .l_ ~ .. ‘ . ,, ' l Upon any saie, transfer and assignment ot
Purohased Receivables by Merchant to Purchasar. pursuant to Section 4(b), Purohasar shall pay Merchant the
aggregate Purchase Price of the Purchased Receivablcs that Merchant has transferred sold or assigned to Purch'a'ser
fortna relevant period lthough a simultaneous reduction in the Deposlt Balanoe in an amount equal to the Purchasa
Price for the Purohesed Receivables so transfened, sold and assigned during that period Such amount by which the
Deposit Balan<;e Shall be reduced shall thereupon become the property of Merchant Notwithstanding` any provision to
the contrary in Section 4(b) hereof, if at any time the Daposil Balanoe is less than the Purchase Pricc of Purchased
Receivables created since the previous payment from Purchaser to Merchant then Merchant shall only aaaign, and
Purohaser shall only be obligated to pay for, such amount of Purchased Receivablas' created as the Deposit Balance
shall be sufficient to purchase in accordance with Section 4(!)) hereof. so as to leave a Deposlt Balanoe of zero
(including any purchase that would result in Purohaser only acquiring a portion of an account receivable The Deposit
Baiance may not be reduced by any other means, including (but not limited to) a direct cash payment from Merchant to _
Purchaser, except pursuant to Seotion 7 or Section 8.

(d) ‘ ~4¢ .4'_,»_ ’u .*._ . l ii °= man = l K= »':n » .‘.. .. s ' . -. vilnt¥i'llihi'dhlhereby BUfll'OliZBSafld
directs the Processor to pay to Purchaaar the Purchaser’s Share of Setllement Payrnent for every period, without
verification from Merchant, until Merchant has assigned to Pul’chaser Puichaaed Receivablas of aggregate Face
Amount in lite amount set forth in Section 4(b) and purchaser shall have received payment in lull of all such Purchased
Rooeivables. For avoidance of doubt, in carrying out the direction in this Paragraph 4(d). Processor shall act solely in
accordance with Purchaser’s instructions to Procesaor. Sucn authorization and direction shall bc irrevocable without the
written consent of Purchoser.

(e`) M_o_nth]y§tatgm§nt, Pun:haser shall forward Merchant a monthly statement within ten (10) days after the end ot
each month, which shall conclusively establish for the purposes of this Agrearnent. an account stated identifying the
Face Amourit lor Purchased Receivablea, which may specify revised amounts for Purchased Recelvables previously
purchased by Purchaser that have been sublect_ed to faea. chargeoacks, lines, adjustments or other deductions by
Processor or Banl<. Such statement shall be binding upon Merchant with respect to the matters redacted tharein,
except to the extent that written exceptions thereto are delivered to Purchaser within ten (10) days alter the date of
such statement is delivered

5. ; _~ n : il ‘_~_ _ . ..-. ,. ' ¢ : i" . :.: z ¢, i.= i ‘. Merchant represents and wananto to Purchaser
that on the date hereof and again on each date on which the Deposit Balanoe is greater than zero. that: _

(a) (i)lf Merchant is a corporation limited liability company. limited partnership or general partnershipl then it is validly
existing and in good standing under the laws of ita state of organization; il has all requisite power and authority to own,
lease, pledge and operate its properties and assets and to carty on its business as presently conducted; it has all
requisite power and authority to execute and deliver each Transaction Docurnent and to perform all ot its obligations
and undertakings and to carry out the transactions contemplated under each Traneaction Documant; and the
execution and delivery of, and the performance of ali obligations ot Merchant under, each Transactlon Docurnent, have
been duly and validly authorized by all necessary action

(ii) if Merchant is a sole proprietorship then the natural person who is the sole proprietor has all requisite power
and authority to own, ieace, pledge and operate its properties and assets and to carry on its business as presently
conducted; and has the lull and unrestricted legal capacity to execute and deliver each Transaction Document and to
perform all of his or her obligations and undertakings. and to carry out the transactions contemplated under each
Transaction Docurnent.

(b) Each Puichascd Receivable is and, at the time of transfci, sale and assignment to Purohascr, will be, bona tide
and existing obligations cl the Processor or Bank arising out of the sale of goods and/or the rendition of services in the
ordinary course of Merchant‘s business free and clear ot all Llens and security interests owned by and owing to
Merchant Dispute.

(c) Merchant is solvent and fully authorized to assign and sell transfer and assign the Purchased Rscaivables
hereunder.

(d)‘The execution delivery and performance ot this Agreement and the consummation of the transactions
contemplated hereunder, and compliance with the provisions of each T'ranso'ction Document, does noland will not
violate the certificate of incorporation limited liability company certificate limith liability company agreement
partnership agreement or other organizational document or bylaws of Merchant; (ii) connlct with, or result in any
violation, of any applicable law, rule, regulationl judgment injunctionl order or dccree. or (lii) oonllict with, constitute a
del‘.euit1 or entitle any person or entity to receipt of notice or to a right of oonsant, or give rise to a right of termination
cancellation or acceleration of any obligation or to loss of a benefit or to any increased additionall accelerated or
guaranteed rights or entitlement of any person or entity, or result in the creation of any claim on the properties or
assets of Merchant under any provision of any agreement or other instrument binding upon Merchant /(

   

    

   
 

     

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(e) There is no action, suit, claimx investigation or legal or administrative or arbitration proceeding pending or
currently threatened whether at law or in equity or before any lederei, etate. local, foreign or other oourt, governmental
department commissionl boerd, bureau, agency or instrumentality (collectiveiy, "Govemmomsal Authoritiss”)
against Merchant

{f) Merchant is in compliance with all statutes rules, regulations orders or restrictions of ali applicable Governmeni`ai
Authorities. All federal state local and foreign tax returns and tax reports, end all taxes due and payable arising there
from required to by fried by Merchant have been or will be liled and paid, on a timely basis (including any extensions),
All such returns and reports are and will be true, correct and complete Merchant has disclosed to Purchaser in writing
all of its material liabilities and, to the best of its knowledgel l<nows of no material contingent liabilities except current
liabilities incurred in the ordinary course of business consistent with past practice Merchant's accounts receivable are
generated in the ordinary course of the conduct of commerce
or business

(g) Merchant is not the owner of any commercial tort claims as of the date of execution of this Agreementz and to the
extent it becomes owner of any commercial tort claims subsequent to the date ot this Agreement, lt will assign same to
Purchaser as Collaterai and cooperate with Purchaaer and take such actions and execute and deliver such documents
as Purchaser shall reasonably request in perfecting such security interest

6. gaming (a) Merchant shall (i) maintain adequate insurance providing coverage consistent
with that ordinarily maintained by similarly situated businesses and (ii) conduct its business consistent with past
practice

(b) Olher than Prooeesor. Merchant shall have no credit card terminal or processor in any location giving rise to
accounts receivable cr. except as otherwise provided in this Section 6, amend in any way or terminate the Processing
Agreernent, without Purchlser's prior written consent The Prooessing Agreement shall remain in affect for a minimum
of two (2) years from the date heraot. lnd, in any case, shall not be terminated by Merchant until tha Deposit Baiance
shall be reduced to zero. Merchant shall not allow any event to occur that could reasonably be expected to adversely
affect Merchant‘s ability to accept debit or credit cards under the Prooessing Agrcerneni or its customersl use of such
cerds. Merchant acknowledges and agrees that the Proceasor may provide Purchaaer with Merchant‘s credit card
transaction history

(c) Promptly upon learning of a Dispute or threatened Dispute, (i) Merchant shall notify Purchaser in writing, and (ii)
title to the Purchased Receivebles that are the subject of the Dispute shall re~vest in Merchant and any previous
reduction or the Deposit Baiance with respect to such Purchasad Recaivabie previously credited to Merchant with
respect to that Purchased Receivable shall be reversed Merchant shall indemnity Purchaser from. and hold it harmless
in respect of, any iossas, liabilitiesx damages costs and expenses (including attomcys. and other professionals fees
and expenses) arising out of or incurred in connection with such Dispute.

(d) Merchant agrees that all information about Purcheser disclosed to lt at any time in connection with this
Agreement. including this Agreement, shall be kept confidential and shall not be directly or indirectly disclosed to any
person or entity, except (x) with Purchaser. prior written consent; (y) as may be required by law; or (z) such information
which is or becomes generally available other than as a result of a violation or this provision or any term of this
Agreement. in the event oi' a breach or a threatened breach by Merchant of the provisith of this section, Purchase_r
shall he entitled to an injunction restraining Merchant from such breach or threatened breach The obligations set forth
in this section shall he condoning and shall survive the termination or this Agreer'ncnt. Merchant hereby acknowledges
that money damages would be insuflicient andx in advance agrees to the granting of injunctive relief in the Purchaeer‘s
favor without proctor actual damages in the event that such equitable relief is granted such remedy or remedies for
breach or threatened breach shall not be deemed to be the exclusive remedy or remedies available at law or equity
to Purchsser.

(e) As long as the Deposit Baianoe is greater than zero, the Merchant shall not without the prior written consent of
Purohaser: (i) incur any irrr.tet)tednessil obligation or iiability, contingent or otherwise (other than trade payebles
incurred in the ordinary course of business and consistent with past practlco), (ii) grant or permit to be created any
Lien other than the Securiiy lnterest, (iii) merge, combine or consolidate with another entity. which mcrger.
combination or consolidation results in less than 50% of the outstanding voting securities of the resulting entity being
owned by the then existing holders of securities of the Merchant (a "Changa of Control'), (iv) transfer. essign,
license sell. lease or otherwise dispose of all or substantially all of its assets to a Person that is not a wholly-owned
subsidiary of the Merchant', provided, that the Merchant shall cause any such subsidiary to comply with the provisions
of this Scction S(e)l (v) close the Businese Acoount (and the Merchant shall promptly deposit all revenues received in
the ordinary course of business in the Buslness Acoount), (vi) open or maintain any checking account other than the
Business Acoount, C/

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or (vii) take any action to discourage the use ot credit cards or to permit any event to occur which could have an
adverse effect on the use, acceptance or authorization of debit and credit cards for the purchase of Merchants. goods
and/or services change its arrangements with Prooessor in any way which is adverse to the Purchaser.

7. §mm_ofmfputt, if one or more of the following events ("Everiic of Dei‘a'uit') shall have
occurred end be oontinuing; (i) the Merchant shall fail to assign any account receivable required by this Agreement to
be assigned to Purchaser while the Deposit Baiance is greater than zero, or shall tail to pay any fees or any other
amount payable under any Trensaotion Documeht when due; (ii) the Merchant shall tail to observe or perform any
covenant or agreement or any ropresentation, warranty, certification or statement made by the Merchant in, or
delivered pursuant to or in connection with, any Transaction Documcnt, shall have been incorrect in any material
respect when made (or deemed made); (iii) a judgment or order for the payment of money shall be rendered against
the Merchant which shall continue unsatislied and unetayed for a period ot 10 days; (iv) the Merchant undergoos a
Change ot Control; (v) the Merchant shall commence a voluntary case or other proceeding or consent to an
involuntary casei seeking iiquidation. reorganization or other relief with respect to itself or its debts under any
bankruttitoyl insolvency or other similar law now or hereafter in effect or seeking the appointment of a trustee, receiver,
liquidator, custodian or other similar official ot it or any substantial part of its property (coileotively,

"Bankruptcy Rsliof"). or shall make a general assignment for the benetit of oreditors, or shall admit iri writing its
inability to pay its debts. or shell fail generally to pay its debts as they become due, or shall take any corporate action to
authorize any of the foregoing; (vi) an involuntary case or other proceeding seeking Banliruptoy Reliei shall be
commenced against the Merchant end shall remain undismissed for a period oi 60 days, or an order for relief shall be
entered against the Merchant under the federal bankruptcy laws as now or hereafter in eltect; or Merchant shall
dissolve or liquidate or be dissolved or liquidated or cease to legally exist (vii) the Securiiy interest aheii, for any
reason (other than Purchaset‘s failure to renew a UCC financing steternent), cease to be a first priority, perfected
security interest in and to any Coiiateral and such event is not remedied within 5 days of such failure; or (viii) the
Merchant shall default under any_of the Seoured Obiigations; - then, and in every such event. Purchaser (a)
may, by written notice to the Merchant immediately terminate its obligations to purchase accounts receivable under this
Agreernent, declare the Deposit Balance to be immediately due and payable without presentment demand, protestor
other notice of any kind. all of which are hereby irrevocably waived by the Merchant; providedl that in the case of (v) or
(vi) above, without any notice to the Merchant or any other act by Purohaser, the Depocit Baienoe snell become
immediately due and repeyabie by Merchant to Pun:haser without presentment demand protest or notice of any kind,
which are hereby irrevocably waived by the Merchant and (b) shell be entitled to the relief set forth in Section 8 (b) end
may seek all remedies to which it is entitled by iaw. equiiy, or statute, ali such remedies being cumulative

8. winning (a) This Agreemeiit, with the exception ot Section S(d) and 14 hereof, shell
terminate on the date on which the Deposit Balence is reduced to zero. Notwiihstanding anything herein to the
oontraiy. all Purchasei“s rights and all of the terms conditions and provisions hereof, shall continue until all amounts
owing by Merchant under any transaction Docurnents have been paid iri fuii.

(b) ll any Event of Defauit oocurs, or upon the termination of this Agreement. Merchant shell pay to Purchaser all
amounts payable to Purchaser under any Transaction Dooument, including the Deposit Belan'ce and. including without
limitation,_ upon the Merchant"s breach of any of its obligations under Seotion 6(b). together with an additional amount
equal `to`ti`ie' aggregate Purchase`r‘s Comr'nissio'ns calculated in respect ot Purcnased Reoeivahle`s' that‘l=`urch`eser
would have acquired pursuant to the terms of this Agreernant had there been no Event ol Deieult and had the
associated accounts receivables become Purchases Receivabies under this Agreement. and together with any other
amounts then due from Merchant under this Agreement. promptly upon demand by Purchaser. Purchaser may direct
Prooes'sor` on Merchant‘s behalf and without Merchant‘s verification or other act or approval of Merchant., to pay ali
Merchant‘s debit and credit card settlements to Purchaser until payment for all unpaid Purchased Reoeivabies. plus
reimbursement of Purchasers expenses (including coilection, court and attorney iees), plus interest on ali of the above
at a rate of fifteen percent (15%) per annum. or the highest late permitted by applicable law, whichever shall be less. is
received by Purohaser. in addition, Purchaser may collect eli sums due by detriting any bank account of Merchant by
automated clearing house deblt..

v 9. wgnty_m;gwt, (a) The Merchant grants a security interest in the Coiiaterel to the Puroha'se'r to
secure the payment or performance of the Secured Obligstions.

(b) (i) The Merchant hereby represents and warrants that (A) the Securiiy interest constitutes e valid security interest
under the UCC securing the Secured Obligations; and (B) when UCC financing statements shall be filed in the
appropriate tillng office, the Securiiy interest shall constitute a perfected security interest in the Collateral, prior to ali
other Liens and rights of others therein and (C) the Merchant has rights in, and marketable title to, the Coiiaterai.

@ 2010 Business Finan<:ial Servioes, lnc. 5 * Merchant |riltial:

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(ii) The Merchant covenants that without the prior written consent of Purc`haser and delivery to Pu'rchaser of an
appropriate legal opinion of counsel acceptable to Purchaser, it shall not during the term of this Agreement (x) change
its name. identity or corporate structurel cr change its jurisdiction of organization ii the perfected Securiiy interest Shall
not thereafter continue to be corrected or (y) transfer any right title or interest in any Collateral (including, without
limitation to a subsidiary) if such change would cause the Security interest in such Coilateral to lapse or cease to be
perfected
v (iii) The Merchant shall, from time to timc, at its expense lake such action that may be necessary or desirable or
that Purchaser may reasonably request in order to create, preserve perfect confirm or validate the Secunty interest
or to enable Purchaser to exercise or eniorce any of its rights powers and remedies hereunder with respect to any of
the Coliateral.

(c) in case of the occurrence of any Event or Defauit and at any time thereafter during its continuance Purche'ser
may exercise ali rights ot a secured party under the UCC (whether or not in effect in the jurisdiction where such rights
are exercised), Purcha'ser may be the purchaser of any or all of the Cotiateral sold at any public sale. The Merchant
will perform all actions as Purchaser in its sole discretion deems necessary or advisable in order that any such sale
may be made in compliance with iaw.

Upon any such sale‘ the Coilateral shall be delivered assigned and transferred to Purchaser. At any such sale.
Purchaser shall hold the Collateral tree from any claim or right and the Merchant, to the extent permitted by law,
hereby specihcally waives all rights of redemption, stay or appraisal which it has or may have under any law now
existing or hereafter adopted

(d) The Merchant hereby irrevocably appoints Purchaser its true and lawful attorney-in-fact, said appointment being
coupled with an interest with full power of substitution in the name of the Merchant for the sole use and benoit of
Purchaser, but at the Merchant‘s expensel to the extent permitted by law, to exerciee, at any time and from time to time
while an Event of Deiauit has occurred and is continuing, all of the following powers with respect to ali or any of the
Coilaterai; (i) to demand sue for, collect, receive and give acquittance for any and all monies due or to become due
thereon or by virtue thereof; (ii) tc settle, compromise compound, prosecute or defend any action or proceeding with
respect thereto; (iii) to seil, transfer, assign or otherwise deal in or with the same or the Proceeds thereof, as if
Punchaser were the absolute owner thereoi, and (iv) to extend the time ot payment of any or ali thereof and to make
any allowance and other adjustments with reference thereto; provided that Purchaser shall give the Meii:han`t notices
than td'days, prior written notice of the lime and place of any sale or cthar disposition of any o`f`th'e Collateral. except
any Ccilaterai which is perishable, threatens to decline speedily in value or is customarily sold on a' recognized market
The Merchant agrees that such notice constitutes "reasonable notification“ within the meaning of Section Q~GiO(b) of
the UCC.

10. mmpa Merchant agrees to execute any further documents insburhents.
agreements and consents and to take any further actions requested by Purchaser to evidence or perfect ina Security
interest granted herein, to maintain the first priority or the Securiiy interests or to effectuate the rights granted to
Purchaser herein cr in any of the Transaction Documents or documents or agreements comprising the Secured
Obilgati'ons Merchant shall havel possession of the Coliateral except where otherwise provided in the Trahsaction
Docurn'e'nts or where Purch'a's_er chooses to perfect its security interest by possession or control.__

11. guaranty E'a'ch `G`uaranto'r hereby jointly end severally unconditionally guarantees the (i) tull and
punctual repayment under this Agreern'ent, of the initial Deposit or any Deposit Baianoe. (ii) the l‘ull `a"rid punctual
payment cf all other amounts payable by the Merchant under this Agreement and (iii) the full and punctqu performance
by Merchant of Merchant's obligation to assign to Purchaser'the aggregate amount cf F ace Amount of Pur`chased
Rec`eivables described in Sectlon 4(b) and (iv) the rolland punctuai perlo`rrnance cl all ot Merchant's obligations under
the Tranaactlon Docu`me'nts. Up`on the Merchant’s breach of any of ita obligations under Section S(b). G'uara'ntor shall
forthwith on demand promptly pay Purchaser the amount ot the Depdsii Baia'nce, together with an additional amount
equal to the aggregate purchasers Commlssi'ons calculated in respect of Pu'r'chaaed Receivables that Purchase_r _
would have acquired pursuant to the terms of this Ag_raement had the Merchant not violated such covenant and had the
associated accounts receivables become Purchased Recei`v'al':les under this Ag‘recrneni and together with any other
amounts then due fr`orri Merchant under this Ag`ree`ment-.- promptly upon demand by Purchaae'r- Th'a obligations of
Guer'antor hereunder shall be irrevocable unconditional and absolute and shall not be released or discharged until the
Dépo'sit Bala`ric'e" rs reduced to zero and any other amount payable by the Merchant under this Agroeme`nt and any
other Transaction Documents shall have been paid in full Gudrantor irrevocably waives any requirement that at any
time any action be taken by any Perso‘n against the Merchant or any other Paraon. if acceleration of the time for
payment of any amount payable under this Agroement or under any Transaction Dccumend; is stayed upon the
insolvency, bankruptcy or reorganization of the Merchant such amount shall nonetheless be payable by Guarant`or
hereunder forthwith on demand by Punchaser.

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z ;_. ._ ~..-.;r ,r Each Guarantor waives notice of acceptance of the Guaranty contained
in this 'Agreem'ent, notice of any liabilities or obligations inoluding. without limitation the Secured Obligations. to which
lt may apply, presentment demand for payment protest notice ot dishonor or nonpayment of any liabilities or default
by the Merchant notice of intent to accelerate, notice of acceleration and notice of any suit or tile taking of other action
by Purchaser against Merchant Guarantor cr any other person. any applicable statute of limitations and any other
notice to any party liable on any document evidencing the Secured Obligations and Transaction Documents (inctuding
Guarantor).

Each Guarantor also hereby waives any claim. right or remedy which such Gu'arantor may now have or hereafter
acquire against Merchant that arises hereunder and/or from the performance by any other Guararrtor hereunder
including without limitation7 any oialm, right or remedy of subrogation reimbursement exoneration contribution
indemnification or participation in any clalm‘ right or remedy cf Purchaser against Merchant or against any security
which Purchaser now has or hereafter aoquires. whether or not such claim, right or remedy arises in equity. under
contract by statute under common law cr otherwise Each Guarantcr also waives the benefits ct any provision of law
requiring that Purchaser exhaust any right or remedy, or take any action, against lillart':hz-mtl any Guerantor, any other
person and/or property including but not limited to the provisions of N.C. Gen. Stat. §25-3-605 and §26-7 through
§26»9, inclusive as amended. cr otherwise This is a guaranty or payment and not of collection Purchaser may at any
time and from time to time without notice to Guarantor (except as required by law), without incuran responsibility to
Guarantor, without lmpairlng, releasing or otherwise affecting the obligations ol Guarantor, in whole or in part. and
without the endorsement or execution by Guarantor of any additional consent waiver or guaranty: (a) change the
mannar. place or terms of payment or change or extend the time of or renew, any liability or obligation or installment
thereol, or any security theretore; (b) sell. exchange release surrender, realize upon or otherwise deal with in any
manner and in any order any property at any time pledged or mortgaged to secure the liabilities or obligations and any
onset there against (c) exercise or refrain from exercising any rights against Merchant or others (inoluding Guarantor)
or act or refrain from acting in any other manner; (d) settle or compromise any liability or obligation or any security
therefore and subordinate the payment of all or any pan thereof to the payment of any liability or obligation of any
other parties primarily or secondarily liable on any of the liabilities or obligations; (o) release or compromise any
liability of Guara'nto'r hereunder or any liability or obligation of any other parties primarily or secondarily liable on 'any cf
the liabilities or obligations; or (i) apply any sums from any sources to any liability without regard to any liabilities
remaining unpaid The phrases “liebllitles“ and "obligatlons" as used herein shall inciude, without limitation the
Secured Ot)ligatlons and Trariaaction Doo‘ume'nts.

13. m All notices required or permitted hereunder shall be in writing and shall be deemed
effectively given; (a)‘ upon personal dellvery, (b) when sent by confirmed facsimile ii sent during normal business hours
of the rl=iclpientl if not, then on the next Buainess Day, (c) five (5) Business Daya after having been sent by registered or
certified mail, retum:raceipt raquested. postage prepaid. or (d) one (1) Buslnass Day after deposit with a nationally
recognized overnight courier, specifying next day delivery, with written ventilation cl receipt All communications shall
be sent to such address or facsimile number. in the case of tile Merchant set forth on the hint page cl this Agreement,
and in the case of the Purchae'er and the Guarantors. set forth beneath each such party‘s signature on the signature
page hereafter (except in the event that notice is provided by any party hereto in accordance with the terms of thls_
'Se"ctl`o`n 1`3 that notices hereurider"s`hali be delivered to another"addresa)`., ` ` `

14. mild All covenants agreements, representations and warranties made herein shall survive
the execution hereoi. and shall remain in enact until full performance by Merchant of all the Secured Obligations and
shall bind the successors and assigns of the parties hereto., 5 _

b v 15. ' ` ' " " ` " ' ' " ' No modification amendment or waiver ot any provision oi. or
consent required by. this Agre'én'lent, nor`any consent to any departure here from, shall be effective unless it is in
writing and signed by`both the`Marctiant and the Pr.r'rchaser.

l .. ‘lti-. ' ° ` .. ' " ` " " ` ` ' ` ' No failure to exercise and no delay in exercising on the part of
any party, any righl-',"pow`er or privilege hereunder shall operate as a waiver thereof, nor shall any single or partial
exercise ot any right power or‘pn'vllege preclude any other rlght', power or privilege The rights and remedies herein
provided are cumulative and are not exclusive of any other rights or remedies provided by law.

 

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17. latteth Any term or provision of this Agreement shall be inen‘ective to the extent it is declared
invalid or unenforceable without rendering invalid or enforceable the remaining terms and provisions of this Agreement.
The unenforceability or invalidity of any provision of this Agreement shall not effect the enforceability or validity of any
other provision herein and the invalidity or unenforceability of any provision of this Agreement or any agreement
incorporated herein by reference or referenced herein to any person or circumstance shall not affect the enforceability
or validity of such provision as it may apply to other persons or circumstances

18 A§§lgnmgn!, `l'his Agre,ement and the rights and obligations hereunder shall not be assignable or
transferable by the Merchant but shall be assignable by the Purohaser without the consent of the Merchant Any
instrument purporting to malte an assignment in violation of this Section 18 shell be void

' ; ~ : : This Agreement shell bind and shall mure to the benefit of the
heirs legatees executors administrators successors and assigns ot the Purchaser.

20. judgmnmg_mgm, in addition to eli rights and remedies available to the parties hereto al law or in
equity, the Merchant shall indemnify the Purchaser its Attillates and their respective stockholders officers directors
employees agents successors and assigns (oollectively, the "lndemnlfied Perscns') and save and hold each
lndemnilied Person harmless from and against end pay on behalf of or reimburse each such indemnified Person as and
when incurred for any and all ioss. liability demandl clalm, action. cause ot action, oost. damage, deficiency. la!,
penalty, fine or etcpenai=.l whether or not arising out cl any claims by or on behalf of such lndemnilied Perso'n or any
third party, including without limitation, interest penalties reasonable attomeys' fees and expenses end all amounts
paid in investigation, defense or settlement of any of the foregoing (inciuding. without limitation, eli reasonable
attorneys fees and expenses incurred in connection with the enforcement of this Section (20), that any such
indemniried Parson may sutton sustain insuror become subject to. as a result of, in connection with, relating or
incidental to or by virtue of any misrepresentation or breach of warranty of the Merchant under any of the transaction
Documents, (ii) any nonfultlllment, default or breach of any covenant or agreement ct the Merchant in any cl the
Transaclion Documents. or (iii) purchasers efforts tc enforce any provision of this Agreoment

21. A'rhjtratign, (a) Notwithstencling anything to the contrary contained herein, any dispute arising out
ot cr in connection with this Agreement shell be settled exclusively and linally by arbitration conducted in the Olty cf
Charlotte, Norlh Car'otina. under the commercial arbitration rules of the American Arbitretion A'ssoci'etion (the

"AAA"), such arbitration to apply the laws Stete of Norlh Car'olins (wlthout giving effect to convict allows principles)
The arbitrator at such arbitration shall not be entitled to award punitive damages to any paity, and the costs and fees of
such arbitration shall be home by the losing party The parties hereto acknowledge and agree that this arbitration shall
be solely between the parties to this agreement and no class arbitration or other representative action may be
undertaken by the arbitrators The arbitration shall be conducted by one neutral arbitrator, such arbitrator shall be
appointed byrne AAA. (b) Reservatlon of rights Nothing in this arbitration provision shall be deemed to (i) limit the
applicability of any otherwise applicable statutes ol‘ limitation or repose and any Walvef$ wmatan in this Agraernent; Ot
(ii) be a waiver by the Purohaser ot the protection afforded to lt by 12 U. S C sec. 91 or any substantially equivalent
state law; or (iii) limit the right ct the Purchaser hereto (a) to exercise self help remedies such as (but not limited to)
setoff or (b) to foreclose against any real or personal property collateral or (c) to obtain from a court provisional or ..
ancillary remedies such as (b_u`l not limited to) injunctive reliei,' write cl possession or thel appointment of id receiver The
‘Purchaser may exercise such self help richter foreclose upon such property or obtain such provisional or ancillary
remedies before during or alter th`e' pendency ot any arbitration proceeding brought pursuant to this insi'm'ment,
agreement or document Neithei this exercise of sell help remedies not the institution or maintenance of an action for
foreclosure or provisional or ancillary remedies shall constitute a waiver of the right ct any party, including the claimant
in any such action to arbitrate the merits of the controversy o'r claim occasioning resort to such

remedies

 

 

' ` ' ‘ ' " " ' ' ' ' Merchant shall pay, on demand all costs and expenses of
collection or defense cl any of the Transadtlon Do`cu`rnents or of any endorsement or guaranty thereof and/or the
enforcement or defense of Purchaser's rights with respect to, or the administration supervision preservation or
protection of or realization upon any property securing payment hereof including without limitation reasonable
attorney s fees including rees related to any suit mediation 'o_r arbitration proo'e`_e'ding, out of court bailment agreement
trial appeal bankruptcy proceedings or other proceeding in such amount as may be determined reasonable by any
arbitrator or 'co`urt, whichever is applicable

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" ‘ .. ' =._-" \.1,-_» ' 111 This Agreement and the rights and obligations of the
Merchant the Purchaser and the Guarantors shell be governed by and interpreted in accordance with the law of the
State of Norlh Carolina (without giving effect to connict of laws principles) li there is any litigation associated with this
Agreement, or with any endorsement or guaranty of this Agreement or any Transaction Doournen\s. bent/sen or among
the Merchant the Purchaser end the Guarentors (or any of them) that is not immediately subject to arbitration under
Se'ction 21 (inciudlng but not limited to any action to compel arbitration otto confirm an arbitral eward) then as to such
litigation each of the foregoing persons irrevocably cons his to and hereby confers personal jurisdiction over such
person on the courts of the State of North Carolina or of the United States located within lite State of Norlh Carollna.
and expressly waive any objections as to venue in any such courts Nothin‘g contained herein shall however prevent
the Purchaser from bringing any action or exercising any rights within any other state or jurisdiction or from obtaining
personal jurisdiction by any other means available under applicable law.

24. minimng The Merchant agrees and covenants that th'e' proceeds o`f this transaction are to
be used primarily for business commercial or agricultural purposes The Merchant acknowledges having read and
understood and agrees to be bound by, all terms and conditions of this instrument and hereby executes this Agreem'ent
under seal as of the date here above written

25 Agdkmmgmwm. lf (i) a representation or warranty under Section 5 was false
when made or no longer remains true, cr (ii) a covenant under Section 6 is breached by instrumentl or (iii) an Eve'nt of
Defauit occurs, then at Purchaser*s eiection, Purchaser is hereby authorized at any time. at its option and without notice .
or demand to setoff end charge against any deposit accounts of the Merchant (as welles any money, instruments
securitiesl documents, chattel paper credits. claims demands income and any other property, rights and interests of
the Merchant), which at any time shall come into the possession or custody or under the control ortho Purohaser
(including, without limitation any "autometed clearing house“ account or account with the Processor) or any of its
agents Afnliates or correspondents any end all obligations due hereunder

28 Mg,£gg, The Merchant authorizes acknowledges and agrees that in connection with the
execution of this A`g`rcernent, an investigative or consumer report may be obtained with respect to the Merchant end
C-iueranto'r(s)v Accordingi'y, the Men;hant and each of Guaf`ant'or(s) authorizes the Purch'aser. its agents and y
representatives and any credit reporting agency employed by the Purcha'ser to investigate any references given o'r any
other statements of data obtained from or about the Merchant or any cl its principals for the pufpos'e of this Agreen'tent
and to obtain credit reports at any time now or in the future on the Merchont and Gua'rantor(s). Merchant acknowledges
end agrees to pay Pur`chaser a $275 00 processing fee ($475'. 00 for initial Dep'osits greater then $'40, 000. 00) which will
be deducted from the initial De`posit at funding and which fee will not be credited to the Pu'rchased Re'ceivaoies.
Additionaiiy, for Account Receivable Pumhase Agreements utilizing a Lock Box account a 5250. 00 setup fee will be
deducted from the initial Deposlt et funding and will not be credited to Purchased receivables Merchant will be required
to sell, transfer and assign to Purchaser the aggregate amount of Faoe Amount of Purcha'sed Receivabies pursuant to
Section 4 (b) of theis Agre`e'meht. _

‘LM§§M§M Merchant acknowledges end agrees that Purcha`ser rn'a'y report to third-
party credit and data reporting agencies information relating to Merchant’s participation 1r_1 this Ao'c'ounts Receivabl`e_
Purchaee Agree_'men_t ("l'ransacuon"), including without limitation information specitical|y identifying Merchant and its

‘ prirtr`;ip"alsl the amount of the initial De'p'o's'it Ar'n'o'unt, Merchant"s` processing history resulting in payment of Pur`¢':`lie'se'd

' Re"oe`ivable's and other 1nformat1on that third parties would reasonably rely on iii evaluating the creditworthiness of the '
Merchant (the “`l'ransacuon lnfo`rm'etion") Merchant expressly authorizes Purch'as'er‘s disclosure o`f the Tr‘an'saction
information as set forth herein and understands that tiie'_ Tr`an"s'action information will be readily available to merchant
cash advance companies and Merchant‘s potential creditors

~ ‘ 281£_91111§;{911, Th`e parties agree and acknowledge that this agreement was made and formed` 1r1'
Norlh Carolin"e the Puf'chese'r being the last party to sign this agreement in the S`tat"e of North Car"o_li'na All payments b'y`
Merchant under this agreement are to be made at the following address 5852_ B Farlngdon Pla'oe` Raleigh, NC 27609
' 29. ' This Agreernent may be executed in two or more
counterparts by. original or facsimile signature each of which so executed shall be deemed to be an original and such
counterparts together shell be deemed to be one and the same instrument

 

 

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ln' Wti)ess Vlllerec_')f, the parties have executed this Agre'ement under seal as of the date first above written
Merchant . . ._ ‘ . ,, l v

 

By:¢ . (SEAL)°
Name; Tamra Anne Coviellé

`l"llle'. Ownet‘

Oa!e;

Guarantor

 

x
Name: Talmra Anne Covlel|o

Address; Esoondldo, CA , 92027
Telephone:

Busin`ess Financial Services, lnc.

By: .
Name: Susan Rubin
Title VP

Date:

 

NOTARY FGR PURCHASER'

 

 

 

' STA`TE OF NORTH CAROLlNA `(COUNTY OF WAKE) l -~ ; .. a théw Pubiic of séid
Ci)unty and Stat`a, certify tiié`t personally came before mathis day in the Cou'n\y' of
Wal<e North Carolina, add acknowledged thai he/Ghe ls of

.a oorporation, andthat he/slle, as .. . being

 

 

authorized to do so. execuied the foregoing on behalf of the corporation

Wltness my hand 'slnd of&cial seal` this the day of

 

'<sidhécum"§f‘}q¢§§.,'}:,'P~:ugl~.i~_c_-j . ,_
(N°f'ary seen ,
My commission explrés: = _ .

 

EXh. A, p, 32

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' 4370 La Jolla Village Drlve, Suite 970
_ San Diego, CA 92122-1253

Telephone: 619-269~4634
Facsimile: 619-269~4635

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Attorneys for Plaintlffs

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p_¢

SUPERlOR COURT OF THE STATE OF CALIFORNIA
IN AND FOR TI~IE COUNTY OF SAN DIEGO ~ NORTH COUNTY

)-‘ i-r

CAPTAIN BOUNCE, lNC., SEVAG CASE NO. 37»20]1-00052329-CU-BT~NC .
_ KALAJAIN, SAMUEL .
KHATOMATOURIAN, and TAMRA PROOF OF SERVICE OF SUMI\/IONS ON
COVIELLO dba KC DANCEGEAR, BUSINESS FINANCIAL SERVICES, INC.;
individually and on behalf of all others BUSINESS CASH ADVANCE, INC.; and
Similarly situated, FATON, lNC.

Plaintiffs,

ha )-\ l--\ \-\ >-»
Qo- \l 0\ .~Ul h

VS. -

5_‘
¥$

`BUSINESS FINANCIAL SERVICES, lNC.,
BUSINESS CASH ADVANCE, lNC.,
FATON, INC., and DOES 1 through 50,

NN
l-\Q

Defendants.

 

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'N

 

N N N N N N

 

1
FILI`NG OF ORIGINAL PROOF OF SERVICE OF SUMMONS ON DBPENDANTS Exh’ A’ p° 33

 

 

 

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POS-Ol'O

 

ATTORNEY OR PARTY W|THOUT ATTORNEY (Name, Slale Ba! number, and address).` FOR COURT USE ONL V

James F. Clapp (145814); Zach P. Dostart (255071)
”"'oosr_ARr ci_AP`P a covENEY LLP
4370‘ La Joiia Village Dr., Ste. 970
San 'Di`ego, CA 92122
`TELEPHONE No.: 858-623-4200 FAx No. (opironai): 858-623»4299
E-MA|L ADDRESS (Oplional):
Arrorznevron(~amei.~ Piaintiffs Captain Bounce, et ai.

 

suPERi`oR couRr oF cALiFoRNlA, couNTY oF SAN DlEGO
srREETAooREss: 325 S. MeerSe
MA\L)NG A'DDR`ESS:
cmr `Ano zip cone ViSfa, CA 92081
sRANcH NAME Norlh COLln'ty

 

PLAiNriFF/PET:T§QNER: Captain Bounce, et ai. cAsE women
' . 37-2011-00052329-CU-BT~.NG

DEFENDANT/RESPONDENT: Business Financiai Services, inc., et ai.

 

 

Rel. No, or File No,:

PROOF OF SERVICE OF SUMMONS 15190-00001

 

 

 

(Separate proof of service is required for each party served )

1. At the time of service l Was at least 18 years of age and noia party to this action.
2. i~served copies of:

a. § summons
' b. " '- complaint
`c, 1211 Aiternalive Dlspute Resolut`ron (ADR) package
dl Civii Case Cover Sheet (served in complex cases on/y)
e. [:] cross~compiaint
f. ' other (specr`fy documents): NOllCe of Case ASS`ignment

3. aA Party.s_erved (specify name of party as shown on documents served): Business Financiai Services, irlC.

b. P'erson (otherthan the party' rn item 3a) served on behalf of an entity or as an authorized agent (and note person
under item 5b on whom substituted service was made) (specify name and relationship to the party named iri item Sa).
c/o Charles F Barone Registered Agent

4. Address where the party was served: 570 Wil|lamson Road, Suite A, Mooresvilie, NC 28117

5, i served the party (check proper box)

a. [:I by personal service l personally delivered the documents listed in item 2 to the party or person»authorized to
receive service of process tor, the party (1) on (date): (2) at (time): »
b. [l by substituted service. On (dale): at (time): l left the documents listed in item 2 with or

in the presence of (rrame and title or relationship lo-persori indicated in item 3).'

(1) l:l (business) a person at least 18 years of age apparently in charge at the office or usual place of business
of the person to be served i informed him or her of the general nature of the papers.

(2) [:l (home) a competent member of the household (at least 18 years of age) at the dwelling house or usual
place of abode of the party. l informed him or her of the general nature of the papers

(3) l:] (physical address unknown) a person at least 18 years of age apparently in charge at the usual mailing
address of the person to be served, other than a United States Postai Service post office box l informed
him or her of the general nature of the papers

(4) l:l i thereafter mailed (by lirst-class, postage prepaid) copies of the documents to the person to be served
at the place where the copies were left (Code Civ. Proc., § 415.20). i mailed the documents on

 

 

 

(dale).' from (city): or E a declaration of mailing is attached
(5) l___l l attach a declaration of diligence stating actions taken first to attempt personal service
Pago 1 of 2
i=o.rjr::ld/i\g;>||p(t:raod1 ipcr“l\g?ré<;ait{r;g"lalss FROOF OF SERV|CE OF SUMMONS mfg LY/a";;" mm Code of Civii Procedure. § 417_10
Pos~`oio inev. renew 1, 20071 ' ms °' °W‘°°"'

 

Exh. A, p. 34

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Case 3:11-Cv-00858-.]LS-Wl\/|C Document 1-2 Filed 04/22/11 PagelD.42 Page 36 0f43

 

CASE NUMBERZ

PLA:NnFF/PET¢T|QNER:C t' B ‘ , t l.
- ap am °“"°e e a 37-2011-00052329-cu-eT-.Ne

 

 

'EEFENDANT/RESPONDENT: Business Financial Services, lnc., et al.

 

5. c[X

by mail -and acknowledgment of receipt of service. l mailed the documents listed in item 2 to the party, to` the
address shown in item 4, by tirst~class mail, postage prepaid,
(1) on (date): lVlarCh 14, 2011 (2) from (city).' San DlegO _
(3) § with two copies of the Not/'ce and Acknow/edgment of Receipt and a postage~paid return envelope addressed
to me. (Attach completed Notlce and Acknowledgement of Receipt.) (Code Civ. Proc,, § 415.30.)
. (4) §§ to an address outside California with return receipt requested (Code Civ. Proc., § 415.40.)
d. § by other means (specify means of service and authorizing code section):
§ Addltional page describing service is attached

6. vThe “Notice to the Person Served" (on the summons) was completed as follows:

a. § as an individual defendant

b. § as the.person sued under the fictitious name of (specitj/).'

o. § as occupant

d. ~[Xl On behalf of (specify): Business Financial Services, lnc.

under the following Code of Civii Procedure section: _
' 415.95 (business organizationl form unknown)

El 416.10(corporation) l:l
ij 416.20 (defuncicorporation) l:l
§ 416.30 (joint stock company/association) §
§ 416.40(association orpartnership) §
[] 416.50<puuic enriiy) l:l

l:|

7. P_ers`on who served papers
a. Name: Teri L. Zaayer

416.60 (minor)

416.70 (ward or conservatee)
416,90 (authorized person)
415.46 (occupant)

other:

b. Address: 4370 l_a Jolla Village Dr., Ste, 970. San Diego, CA 92122
c. Telephone number; 858~623~4200
d. The fee for service was: $
e. l am:
, (1) not a registered California process server.
‘ (`2) § ` _ exempt from registration under Business and Protessions Code section 22350(b).
(3) § a registered Califo_rnia process'server:
' (i) § owner § employee § independent contractor.
(ii) Registration No,:
(iii) couniy:

8. IE . l declare under penalty of perjury under the laws of the State of California that the foregoing is true and correct

Ol'

alj

Date:

e//a///

Teri L. Zaayer §

(NAME OF PERSON WHO SERVED PAPERS/SHER!FF OR MARSHAL)

l am a California sheriff or marshal and l certify that the foregoing is true and correct.

Qa¢/`Qas

(/ ¢B(GNAWRE)

 

POS-OtO (Rev. January 1, 2007}

PROOF OF SERVlCE OF SUMMONS

Page 2 of 2

Amarican LegalNel, lnc.
www.Formsl/Vorkilow.com

 

 

 

 

Exh. A, p. 35

Case 3:11-Cv-00858-.]LS-Wl\/|C Document 1-2 Filed 04/22/11 PagelD.43 Page 37 0f43

  
  
  
  
  
  

 
  
 

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1,2, and 3. Also complete '
/‘- m Aqem

item`¢l if Flestrioted Dellvery is desired _
ll Print your name and address on the reverse »¢/ _l:l Addressee

so that we can return the card to you.
ll Atta'ch this card to the back o_f the mallpiece,
or on the front if space permits

1. Artlcle Addressed to: '
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C. Date of Dellvery

 

 

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Exh. A, p. 36

Case 3:11-cv-00858-.]LS-WI\/|C Document 1-2 Filed 04/22/11 Page|D.44 Page 38 0f43

Pos»oio

 

ATTORNEV OR PARTY WlTHOl)T ATl'ORNEY (Name. S!ale Bar numbsr, and address): FOR COURT USE ONLY

WJame's F..Clapp (`1458'14); Zach P. Dostart (265071)
oos`rARr cLAPP s co\/ENEY LLP
4370 La Jolla Village Dr., Ste. 970
San Diego, CA 92122
TELEPHGNE No.; 858-623~4200 FAx No. (opriana/): 858-623~4299
E~MA!L ADDRESS (Oplional).‘
m`roRNEv_FoR (Name): Piail’lflff$ Capfain BOUl'lCe, et ai.

 

SUPERiOR COURT OF CAL|FORN|A, COUNTY OF SAN DlEGO
.srREer AoDREss: 325 S. Nie|rOSe
MAiLiNG Aooness:
ciTY ANr> zip coDE; \/lSlZE\, CA 92081
canton NAME; North County

 

nLAiNTiFF/P'ETIT¢ONER: Captain Bounce, et ai. CASE NuMeER:
37-201 1-00052329-CU~BT~NC

DEFENDANT/RESPONDENT: Business Financial Services, lnc., et al.

 

 

Rcl. No. or Fi|e No.:

PROOF OF SERVICE OF SUMMONS 15190-00001

 

 

 

(Separaie proof of service is required for each party served )

1. At.th"e time of service l was at least 18 years of age and not a party tothis action.
'2, _l"servedfcoples.of:

a,'.'» z summons
tr ' complaint `
c.' ig Alte_rnative D_ispute Resclution (ADR) package
d, §§ Civii Case Cover Sheet (served in complex cases only)
e. i:l cross-complaint
4 t. >11 other (speclfy doouments): Notice of Case Assignment

‘3. a. Party served (specify name of party as shown on documents served): Business Cash Advance, inc.

b. -' ' Person (other than the party in item 3a) served on behalf of an entity ores an authorized agent (and not a person
under item 5b on whom substituted service was made) (specify name and relationship to the party named /n item Sa):
c/o Marc Glazer Registered Agent

4. ` Address where the party was served: 3111 N University Drive, Ste. BOO, Coral Springs, FL 33071

5. l served the party (checl< proper box)

a. [:I by personal service. l personally delivered the documents listed in item 2 to the party or person authorized to-
receive service of process for the party (1) on (date): (2) at (lime):
b. {:] by substituted service. On (date): at (time): l left the documents listed in item 2 with or

in the presence of (name and title or relationship to person indicated in item 3):

(.1) i:i (business) a person at least 18 years of age apparently in charge at the office or usual place of business
of the person to be served l informed him or her of the general nature of the papers

(2) l:i (home) a competent member of the household (at least 18 years of age) at the dwelling house or usual
place of abode of the party. l informed him or her of the general nature of the papers
(3) m (physicai address unknown) a person at least 18 years of age apparently in charge at the usual mailing

address of the person to be served, other than a United Slates Postal Service post office box. l informed
him or her ot the general nature of the papers

 

 

(4) I:i l thereafter mailed (by first-class, postage prepaid) copies of the documents to the person to be served
at the place where the copies were left (Code Civ` Proc., § 415.20). i mailed the documents on
(date): from (city): or i:] a declaration of mailing is attached
(5) i:] l attach a declaration of diligence stating actions taken first to attempt personal service '
_ Pago 1.0{2
F°3:¢¢;;P;?u;,°g,“grg;::;?ggsr Pnooi= or= sERvicE or= summons M;gpm;;g;;';;gw'¢;m °°"°°‘°"" ‘°'°°°°“'e' § ‘“"‘°
POS¢Oi_O [Rev. January 1¢ 2007]

 

 

 

Exh. A, p. 37

Case 3:11-cv-00858-.]LS-WI\/|C Document 1-2 Filed 04/22/11 Page|D.45 Page 39 0f43

 

case NuMeER:

- ' NTiFF/`P rm ; ' v . ~
PLAi E oNER Captalh Bounce, et al 37_2011_00052329*CU_BT_NC

 

 

EEFENDANT/RESPONDENT: Busihess Financial Services, lnc., et ai.

 

6. c. .- by mail and acknowledgment of receipt of service. l mailed the documents listed in item 2 to the party, to the
address shown in item 4, by first-class mail, postage prepaid,
(1) on (date): March~‘i¢l, 2011 (2) from (city): San Diego
(3) [:]_ with two copies of the Nolice and Acl<nowledgment of Receipt and a postage~paid return envelope addressed
to me. (Attach completed Notice and Aci<nowledgemeni of Receipt.) (Code Civ. Proc., § 415.-30.)
_ '(4) gi to an address outside California with return receipt requested (Code Civ. Proc., § 415.40.‘)
d. [:i. by other means (speclfy means of service and authorizing code section).'
l:i Additional page describing service is attached
6. T-he "Notice to-the Person Served" (on the summons) was completed as tollows:
a, ij as an individual defendant
b _ l:i as the person sued under the fictitious name ot (specify):
c. i:i as occupant
d. iXi_ ' Cln behalf of (specify): Business Cash A'dvance, lnc.
under the following Code of Civii Procedure section:
' >14 416.10 (corporation) ij 415.95 (buslness organization, form unknown)
[:[ 416.20 (defunct corporation) i:] 416.60 (minor) -
l:i 416.30 (jolnt stock company/association) l:i . 416.70 (ward or conservatee)
I:i 416.40 (association or partnership) i:] 416.90 (authorized person)
i:l 416.50 (pubiic enriry) i:i 415._46 (occupam)
i:i other:

7. v Person_who served papers
a. Name:`l'eri L. Zaayer

b. -Address: 4370 La Jolia Village Dr.', Ste. 970, San Diego, CA 92122
c; Telephone number". 858-623-4200
d‘. The fee for service was: $
e. l am;
(1) § not a registered Calitornia process server.
(2) [:] exempt from registration under Buslness and Protessions Code section 22350(b).
_(3_) [:] a registered Callfornia process server:
' (i) i:i owner [:] employee [_:i independent contractor.
(ii) Registratlon No.:
(iii) County:

8. . l declare under penalty of perjury under the laws ot the Siate of California that the foregoing is true and correct

~or
9. i:] lam a California sheriff or marshal and l certify that the foregoing is true and correct
Date: WO///

. Teri L. Zaayer >

(NAME OF PERSON WHO SERVED PAPERS/SHER!FF OR MARSHAL)

i§:e’NATuRE>

V/

 

POS~O‘\C' [Rev. January 1, 2007]

PRCOF OF SERV|CE OF SUMMONS

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Arnerlcan Lega\Nei, lnc.
www.FormsWorkIlow.com

 

 

 

 

EXh. A, p. 38

Case 3:11-Cv-00858-.]LS-Wl\/|C Document 1-2 Filed 04/22/11 Page|D.46 Page 40 0f43

       

  

n cor‘;`rb`ieré items 1, gallo s. Aisb complete

. ,' »
item 4 if Rt->'S`b'_icted Dell\iél'y is desired /:'

 
 

ll Pt?in.t your name and address on the reverse '
so that we can return the card to you.

l Attach this card to the back of the mallplece,
or on the front it space permits

1. Ariicle Addressed to: _
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E] insured Mail EJ C.O.D.

C;DVQ’/, 5;0}’/}’!5$ )!:L 350’7/ 4. nesrrrcted- Deilvery? (Extra Fee) ‘H Yes

 

_ .. 3 /7 //
j o. is denvery address different/from item 1? ill Yes
|f YES, enter delivery address below: [] No

 

 

 

 

 

 

 

 

 

 

 

2. Article Nu¢'nbérl . " ' ~ ‘ .'»~ v
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Permit No. G~1O

 

 

 

 

° Sender: Please print your name, address, and ZlP+4 ln this box ' l

DOSTART CLAPP & COVENEY, LL.P
4370 LA JOLLA V|LLAGE DR|VE, SU|TE 970
SAN DlEGO, CA 92122-1253

 

 

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EXh. A, p. 39

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'P_os:mo

 

A`iTDRNEY _OR PARTY WiTHOUTA'TTORNE¥ (Nan'l$, S{ale gaf numbel, andaddlt?$$).' ~ FOR COURT USE 0NLY

__James F. Ciapp (145814); Zach P. Dostart (255071)
DOSTART CLAP_P & COVENEY LLP
'437,0"La Jolla \/illage Dr., Ste. 970
San Diego, CA 92122
TELEPHQNE No.: 858-623-4200 FAX NO. ropi/onaii.- 858-623~4299
E-MAiL ADDRESS (Oplionel):
Arros~evronr~ame;.- Plaintiffs Captain Bounce, et al.

 

isuP'ERio.R count oF cALii=oRNiA, couNTv oi= SAN DlEGO
sTREEr A'ooness: 325 S. l\/le|rOSe
MA|L|NG ADDRESS:

ciTY'ANo z-iP cone Vlea, CA 92081

 

'_eRANcii NAME: Norlh COUrlty
Pi_-AiNTiFi=/PEriTiONER: Captain Bounce, et al. crisis Numees:

DEFENDANT/RESPONDENT; Business Financial Services, lnc., et al.

37-2011_00052329-0U§BT-N_C

 

 

Ref. No. or File No.:

PROOF OF_SERV|CE OF SUMN|ONS _ 15190»00001

 

 

 

(Separate proof of service is required for each party served )

1. At the ltime .of service l was at least 18 years of age and not a party to this action.
_l.,-served copies oi‘: -

`a'. 'H summons
b. _ L'S j complaint
c ` §§l', Alternative Dispute Resolution (ADR) package
d. ' Civii Case Cover Sheet (served in complex cases oniy)
e`. ij § _ '. cross-complaint
f , 553 other (-`specr'fy documents): Notice ofCase Assignment
3. a. Party served (specify name of party as shown on documents served): Faton, lric.

b. § Person (other than the party in item 3a) served on behalf of an entity or as an authorized agent (and not a person
' under item 5b on whom substituted service was made) (specify name and relationship to the party named in item 3a).'

c/o lVlichael l Keyes, Registered Agent
4. Address where the party was served: 2200 Museum TOWer, 150 W Flagler Sireei, l`\/liami, FL 33130

5. l served the party (clieck proper box)

a. § by personal service. l personally delivered the documents listed in item 2 to the party or person authorized to
-` receive service of process for the party (1) on (date): (2) at (t/‘me).‘ -
b. § by substituted service. Ori (date): at (time): l left the documents listed in item 2 with or

in the presence of (name and title or relationship to person indicated in item 3):

(_t) § (business) a person at least 18 years of age apparently in charge at the office or usual place of business

<2) til
(3) ij '

(4) l:l

(5).l:l

Form Adopted for Manclatory use
Judicial Counoil el Calilornia
P()S-UiO (Rev Januar-y t, 2007]

of the person to be served. l informed him or her of the general nature of the papers

(home) a competent member of the household (at least 18 years of age) attire dwelling house or usual
place of abode of the party. l informed him or her of the general nature of the papers
(physical address unknown) a person at least t 8 years of age apparently in charge at the usual mailing

address of the person to be served, other than a United States Postal Service post office box. l informed
him or her of the general nature of the papers

l thereafter mailed (by first»class. postage prepaid) copies of the documents to the person to be served
attire place where the copies were left (Code Civ. Proc., § 415.20). l mailed the documents on

(date): from (cily).' or § a declaration of mailing is attached
l attach a declaration of diligence stating actions taken first to attempt personal service. z
. Fage'i otz '

d merican a a n Code 0fCivilProcedure,§417.10
PRooF oi= sERvicE oF summons ;W.F°rm;evgo';;,,;;_;m
Exh. A, p. 40

 

 

 

 

 

Case 3:11-cv-00858-.]LS-WI\/|C Document 1-2 Filed 04/22/11 Page|D.48 Page 42 0f43

 

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Capta‘" °Unce’e a 37-2oii~oooszsze-cu-eT-Nc

EEFENDANT/RESPONDENT: Business Financial Services, lnc., et al.

CASE NUN|BER'

 

 

5. c.
.d.`[]_
i:l_

by mail and acknowledgment of receipt of service l mailed the documents listed in item 2 to the party. to the
address shown in item 4, byi iirst~class mail, postage prepaid,
(1) on (date): l\/larch 14 2011 (2) from (c/'ry): San Diego

(3) § with two copies of the Notice and Acknowledgment of Receipt and a postage- -paid return envelope addressed
to me, (Attach completed Notice and Acknowledgement of Receipt) (Code Civ Proc., § 41 5. 30 )

~(4) § to an address outside California with return receipt requested (Code Civ. Proc., § 415.40.)

by other means (specify means of service and authorizing code section):

Additional page describing service is attached

6 The "Notice to the Person Served" (on the summons) was completed as foilows:

B.

ammm

519

as an individual defendant

as the person sued under the fictitious name of (specify).'
as occupant

On behalf'of (specify).' Faton, lnC.

under the following Code of Civii Procedure section:

ft 416.10 (corporation) § 415.95 (business organization, form unknown) '
§ 416.20 (defunct corporation) § 416.60 (minor)
§ 416.30 (joirit stock company/association) § 416.70 (ward or conservatee)
§ 416.40 (association or partnership) § 416.90 (authorized person)
§ 416.50 (public entity) § 415.46 (occupant)
§ other:

7. Person who served papers

 

 

 

a. Narne: Teri L. Zaayer
b. Address: 4370 l_a Jolla Village Dr, Ste. 970, San Diego, CA 92122
c_. Telephone number: 858~623-4200 `
d.` ' The fee for service was: $
e. l am: `
(_1) noia registered Callfornia process server.
:(2).§ exempt from registration under Business and Professions Code section 22350(b).
(3) § a registered Calitornia process server:
(i) § owner § employee § independent contractor
(ii)` Registration No.:
(iii) County:
8. § l declare under penalty of perjury under the laws of the State of Callfornia that the foregoing is true and correct
or
9. § l am a California sheriff or marshal and | certify that the foregoing is true and correct
Date: §l/@///
Teri L. Zaayer >
(NAME OF PERSON WHO SERVED PAPERSISHER|FF O'R MARSHAL) y V (SlGNATURE)
Pos~o1o inev. .ianuary 1, 2007] PROOF OF SERV|CE OF SUMMONS 4 ` eagazarz

 

American LegalNel. |nc.
www.FormsWork/low.com

 

 

 

Exh. A, p. 41

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Case 3:11-cv-00858-.]LS-WI\/|C Document 1-2 Filed 04/22/11 Page|D.49 Page 43 0143

 

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Track & Centirm

S-earch Resutts

Label/Re€eipt Numberl 7010 3090 0002 1025 2268 -~_-._-~-
servioe(s): certified Maii"” mack & C’“"fi"“
Status: Delivei'ed Enler Label/Receipt Number.

 

Your item was delivered at 9:33 am on March 17, 2011 in MiA!\/iii FL

 

 

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Track & Confirm by email .
Get current event information or updates for your item sent to you or others by email. §g_g_"
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Copyright© 2010 USPS. All Rights Reserved. No FEAR Act EEO Data FOlA a - -.-; : _ Wy ,:..

 

 

 

 

 

 

 

 

 

 

 

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